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10   Inc. and Electrograph Technologies Corp.
11                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
12                                 SAN FRANCISCO DIVISION
13
     IN RE CATHODE RAY TUBE (CRT)                    Case No. 13-cv-05724-SC
14   ANTITRUST LITIGATION
                                                  Master File No. 3:07-cv-05944-SC
15   This Document Relates To Individual Case No.
     13-cv-05724-SC                               MDL No. 1917
16
     ELECTROGRAPH SYSTEMS, INC.;
17   ELECTROGRAPH TECHNOLOGIES                       FIRST AMENDED COMPLAINT
     CORP.,
18                                                   JURY TRIAL DEMANDED
              Plaintiffs,
19
        vs.
20
     TECHNICOLOR SA (f/k/a THOMSON SA),              REDACTED VERSION OF DOCUMENT
21   TECHNICOLOR USA, INC. (f/k/a                    SOUGHT TO BE PARTIALLY SEALED
     THOMSON CONSUMER ELECTRONICS,
22   INC.), VIDEOCON INDUSTRIES, LTD.,
     TECHNOLOGIES DISPLAYS AMERICAS
23   LLC (f/k/a THOMSON DISPLAYS
     AMERICAS LLC), MITSUBISHI ELECTRIC
24   CORPORATION, MITSUBISHI ELECTRIC
     VISUAL SOLUTIONS AMERICA, INC., and
25   MITSUBISHI ELECTRIC & ELECTRONICS
     USA, INC.,
26
              Defendants.
27

28
                                                                                  Case No. 13-cv-05724-SC
     ELECTROGRAPH’S FIRST AMENDED COMPLAINT                               Master File No. 3:07-cv-05944-SC
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 1          Plaintiffs Electrograph Systems, Inc. and Electrograph Technologies Corp. (collectively,
 2   “Plaintiffs”), for their Complaint against all Defendants named herein, hereby allege as follows:
 3   I.     INTRODUCTION
 4          1.      Plaintiffs bring this action to recover those damages caused to them by a long-
 5   running conspiracy extending from at least March 1, 1995, through at least November 25, 2007
 6   (the “Relevant Period”), conducted by an international cartel formed by Defendants and their
 7   co-conspirators. The purpose and effect of this conspiracy was to fix, raise, stabilize and
 8   maintain prices for cathode ray tubes (“CRTs”).
 9          2.      Defendant Technicolor SA, which during the Relevant Period was known as
10   Thomson SA, has admitted that it participated in the conspiracy to fix the prices of CRTs. In
11   its 2011 Annual Report to shareholders, Technicolor SA stated that it “played a minor role in
12   the alleged anticompetitive conduct [regarding CRTs].”            While Plaintiffs dispute that
13   Technicolor SA’s role in the conspiracy was minor, whatever that may mean, and believes that
14   discovery in this case to date has demonstrated and further discovery will demonstrate
15   Technicolor SA’s role was substantial, there is no dispute that Technicolor SA participated in
16   fixing the prices of CRTs. Following an investigation lasting four years, in December 2012 the
17   European Commission levied a fine of €38.6 million against Technicolor SA for participating
18   in a conspiracy to fix CRT prices. In its 2012 Annual Report, Technicolor SA acknowledged
19   that “[f]ollowing the European Commission decision, purchasers may bring individual claims
20   against the Company seeking compensation for alleged loss suffered as a result of the anti-
21   competitive conduct.”
22          3.      Defendants and their co-conspirators are or were among the leading
23   manufacturers of: (a) color picture tubes (“CPTs”), which are CRTs used primarily in color
24   televisions; (b) color display tubes (“CDTs”), which are CRTs used primarily in color computer
25   monitors; and (c) electronic devices containing CPTs (such as televisions) or CDTs (such as
26   computer monitors). For the purposes of this Complaint, CPTs of all sizes and the products
27   containing them shall be referred to collectively as “CPT Products.” Also for the purposes of
28   this Complaint, CDTs of all sizes and the products containing them shall be referred to as “CDT
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 1   Products.” CDT Products and CPT Products shall be referred to collectively herein as “CRT
 2   Products.”
 3           4.         During the Relevant Period, Defendants and their co-conspirators controlled the
 4   majority of the CRT industry, a multibillion dollar market, which in 1999 alone generated over
 5   $19 billion dollars in gross revenue. During the Relevant Period, virtually every household in
 6   the United States owned at least one CRT Product.
 7           5.         Since the mid-1990s, the CRT industry faced significant economic pressures as
 8   customer preferences for other emerging technologies shrank profits and threatened the
 9   sustainability of the industry. In order to maintain price stability, increase profitability, and
10   decrease the erosion of pricing in the CRT market, Defendants and their co-conspirators
11   conspired, combined and contracted to fix, raise, maintain and stabilize the price at which CRTs
12   were sold in the United States.
13           6.         With respect to CRTs, Defendants, their co-conspirators and/or their agents
14   agreed, inter alia, to: (a) fix target prices and price guidelines; (b) exchange pertinent
15   information on, inter alia, shipments, prices, production and customer demand; (c) coordinate
16   public statements regarding available capacity and supply; (d) resolve issues created by
17   asymmetrical vertical integration among some of the co-conspirators; (e) keep their collusive
18   meetings secret; (f) expose cheating on the agreements and to discuss the reconciliation of
19   accounts; (g) allocate market share of overall sales; (g) influence and, at times, coordinate
20   pricing with producers in other geographic areas; (h) limit competition for certain key customers;
21   (i) allocate customers; (j) allocate each producer’s share of certain key customers’ sales; and (k)
22   restrict output.
23           7.         The conspiracy concerning CRTs commenced with bilateral meetings that began
24   in at least March of 1995 and continued throughout the Relevant Period. Also beginning in
25   1995, the co-conspirators began to engage in informal group meetings. By 1997, these group
26   meetings had become more formalized, as described in greater detail below. There were at least
27   500 conspiracy meetings during the Relevant Period, including hundreds of group meetings and
28   hundreds of bilateral meetings. These meetings occurred in various locales, including Taiwan,
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 1   South Korea, Indonesia, Thailand, Singapore, Malaysia, China, the U.K., Europe, and the United
 2   States.    These meetings included representatives from the highest levels of the respective
 3   companies, as well as regional managers and others.
 4             8.    During the Relevant Period, the conspiracy affected billions of dollars of
 5   commerce throughout the United States.
 6             9.    This conspiracy is being investigated by the United States Department of Justice
 7   (“DOJ”) and by multiple foreign competition authorities, including the European Commission,
 8   the Korean Fair Trade Commission, and the Japan Fair Trade Commission. Technicolor USA,
 9   Inc. (f/k/a Thomson Consumer Electronics, Inc.) was subpoenaed by the DOJ in connection with
10   its investigation of CRT price-fixing. Technicolor SA is the subject of an investigation by the
11   Mexican Federal Competition Commission, and its affiliate in Brazil is under investigation by
12   the Brazilian Ministry of Justice for fixing the prices of CRTs. The first participant to be
13   indicted by the DOJ was C.Y. Lin, the former Chairman and CEO of co-conspirator Chunghwa
14   Picture Tubes, Ltd., who had a two-count indictment issued against him by a federal grand jury
15   in San Francisco on February 10, 2009. Since then, five more individuals have been indicted in
16   connection with Defendants’ CRT price-fixing conspiracy.
17             10.   In March 2011, co-conspirator Samsung SDI Company, Ltd. (“Samsung SDI”)
18   pleaded guilty to fixing the prices of CDTs during at least the nine-year period from January
19   1997 to March 2006. Samsung SDI paid a criminal fine to the United States of $32 million. The
20   conspiracy to which Samsung SDI pleaded guilty was agreeing with its competitors and co-
21   conspirators to raise the prices of CDTs, to reduce output of CDTs, and to allocate target market
22   shares for the CDT market overall and for certain customers.
23             11.   During the Relevant Period, Plaintiffs purchased CRT Products in the United
24   States and elsewhere directly and indirectly from Defendants, and/or Defendants’ subsidiaries
25   and affiliates and/or any agents Defendants or Defendants’ subsidiaries and affiliates controlled.
26   Plaintiffs thus suffered damages as a result of Defendants’ conspiracy, and bring this action to
27   recover the overcharges paid for the CRT Products containing price-fixed CRTs it purchased
28   during the Relevant Period.
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 1          12.     This case is related to and concerns the same anti-competitive conspiracy and
 2   many of the same transactions and events that are presently pending in Electrograph Systems,
 3   Inc., et al. v. Hitachi, Ltd., et al. Individual Case No. 11-cv-00831-JS-AKT filed in this Court
 4   and presently pending before the Honorable Samuel Conti in the Northern District of California
 5   (Individual Case No. 3:11-cv-01656-SC, Master File No. 3:07-cv-05944-SC, MDL No. 1917).
 6   Both this case and Electrograph Systems, Inc., et al. v. Hitachi, Ltd., et al. are suits for damages
 7   arising out of the conspiracy to fix the prices of and restrain competition for CRTs in violation of
 8   the federal antitrust laws and state antitrust and unfair competition laws.
 9   II.    JURISDICTION AND VENUE
10          13.     Plaintiffs bring this action to obtain injunctive relief under Section 16 of the
11   Clayton Act; and to recover damages, including treble damages under Section 4 of the Clayton
12   Act, costs of suit and reasonable attorneys’ fees arising from Defendants’ violations of Section 1
13   of the Sherman Act (15 U.S.C. § 1).
14          14.     Plaintiffs also bring this action pursuant to Section 16750(a) of the California
15   Business and Professions Code, for injunctive relief and treble damages that Plaintiffs sustained
16   due to Defendants’ and their co-conspirators’ violation of Section 16700 et seq. of the California
17   Business and Professions Code (the “Cartwright Act”). Plaintiffs’ claims are also brought
18   pursuant to Sections 17203 and 17204 of the California Business and Professions Code, to obtain
19   restitution from and an injunction against Defendants due to their violations of Section 17200 et
20   seq. of the California Business and Professions Code (the “California Unfair Competition Act”).
21          15.     Plaintiffs also bring this action pursuant to Section 340 of the New York General
22   Business Law, for injunctive relief and treble damages that Plaintiffs sustained due to
23   Defendants’ and their co-conspirators’ violation of Section 340 et seq. of the New York General
24   Business Law (the “Donnelly Act”). Plaintiffs’ claims are also brought pursuant to Section 349
25   of the New York General Business Law, to obtain restitution from and an injunction against
26   Defendants due to their violations of Section 349 et seq. of the New York General Business Law
27   (the “New York Unfair Competition Act”).
28          16.     The Court has subject matter jurisdiction pursuant to Sections 4 and 16 of the
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 1   Clayton Act (15 U.S.C. §§ 15 and 26) and 28 U.S.C. §§ 1331 and 1337. The Court has
 2   supplemental jurisdiction over Plaintiffs’ claims under the Cartwright Act, the California Unfair
 3   Competition Act, the Donnelly Act, and the New York Unfair Competition Act under 28 U.S.C.
 4   § 1367. Plaintiffs’ state law claims are related to their claims under Section 1 of the Sherman
 5   Act and they form part of the same case or controversy.
 6          17.       The activities of Defendants and their co-conspirators, as described herein,
 7   involved U.S. import trade or commerce and/or were within the flow of, were intended to, and
 8   did have a direct, substantial and reasonably foreseeable effect on Unites States domestic and
 9   import trade or commerce. This effect gives rise to Plaintiffs’ antitrust claims. During the
10   Relevant Period, Defendants’ conspiracy affected the price of CRT Products purchased in the
11   United States.
12          18.       The activities of Defendants and their co-conspirators, as described herein, were
13   within the flow of, were intended to, and did have a direct and substantial effect on commerce in
14   California and New York.        In particular Defendants’ and their co-conspirators’ conspiracy
15   directly and substantially affected the price of CRT Products purchased in these states. These
16   effects also give rise to Plaintiffs’ antitrust claims. Plaintiffs maintained operations in these
17   states during the Relevant Period.
18          19.       This court has jurisdiction over each Defendant named in this action under both
19   Section 12 of the Clayton Act (15 U.S.C. § 22) and section 302 of the New York CPLR. Each
20   Defendant conducts substantial business in New York as well as California.                In addition,
21   Defendants and their co-conspirators purposely availed themselves of the laws of the United
22   States and the identified states insofar as they manufactured CRTs for sale in the United States,
23   including New York and California, or which were incorporated into CRT Products Defendants
24   and their co-conspirators knew would be sold to customers in the United States, including New
25   York and California. Defendants’ and their co-conspirators’ conspiracy affected this commerce
26   in CRT Products in the United States, including in New York and California.
27          20.       Venue is proper in the Eastern District of New York under Section 12 of the
28   Clayton Act (15 U.S.C. § 22) and 28 U.S.C. § 1391(b), (c) and (d) because each Defendant is
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 1   either an alien corporation, transacts business in this District, or is otherwise found within this
 2   District.     In addition, venue is proper in this District under 28 U.S.C. § 1391 because a
 3   substantial part of the events or omissions giving rise to this claim occurred in this District.
 4   Defendants and their co-conspirators knew that price-fixed CRT Products containing price-fixed
 5   CRTs would be sold and shipped into this District.
 6   III.    PARTIES
 7           A.       Plaintiffs
 8           21.      Plaintiff Electrograph Systems, Inc. is a New York corporation with its principal
 9   place of business in New York. Through May 2009, Electrograph Systems, Inc. conducted
10   business as a value-added wholesale distributor of display technology solutions, including CRT
11   displays and components, rear screen projection TVs, projectors, and digital electronic products,
12   primarily to resellers and system integrators. Electrograph Systems, Inc. specialized in display,
13   audio, connectivity, and other complementary technologies for sale to commercial, retail and
14   government customers.
15           22.      Plaintiff Electrograph Technologies Corp. is a New York corporation, with its
16   principal place of business in New York. Electrograph Technologies Corp. owns 100% of the
17   outstanding capital stock of Electrograph Systems, Inc.         In addition to its ownership of
18   Electrograph Systems, Inc. and various other businesses, through May 2004, Electrograph
19   Technologies Corp. conducted business as an information technology solutions provider that
20   specialized in hardware and software procurement, display technology, custom networking,
21   security, IP telephony, remote management, application development/e-commerce, storage, and
22   enterprise and Internet solutions. Electrograph Technologies Corp. offered its customers single-
23   source solutions customized to their information systems needs by integrating its analysis, design
24   and implementation services with hardware, software, networking products and peripherals from
25   leading vendors.
26           23.      During the Relevant Period, the Plaintiffs, and their predecessor entities
27   described below, purchased CRT Products directly and indirectly from Defendants, and/or
28   Defendants’ subsidiaries and affiliates and/or any agents Defendants or Defendants’ subsidiaries
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 1   and affiliates controlled. As such, the Plaintiffs suffered injury as a result of Defendants’
 2   unlawful conduct. Throughout the Relevant Period, Plaintiffs, and their predecessor entities
 3   described below, conducted a substantial amount of business in New York and California.
 4          B.      Plaintiffs’ Corporate History
 5          24.     Electrograph Technologies Corp. was incorporated under the name Manchester
 6   Equipment Co., Inc. on August 21, 1973. The company’s name was changed to Manchester
 7   Technologies, Inc. on February 1, 2001, and then subsequently changed to Electrograph
 8   Technologies Corp. on August 1, 2005. On August 1, 2005, upon consummation of a merger by
 9   and among Electrograph Holdings, Inc., a Delaware Corporation, CICE Acquisition Corp.
10   (“merger sub”), a New York Corporation, and Manchester Technologies, Inc., the merger sub
11   was merged with and into Manchester Technologies, Inc., and Manchester Technologies, Inc.
12   became a wholly-owned subsidiary of Electrograph Holdings, Inc., and concurrently changed its
13   name to Electrograph Technologies Corp.              During the Relevant Period, Electrograph
14   Technologies Corp., and its subsidiaries and affiliates, purchased CRT Products in the United
15   States and elsewhere directly and indirectly from Defendants, and/or Defendants’ subsidiaries
16   and/or affiliates and/or any agents Defendants or Defendants’ subsidiaries and affiliates
17   controlled. As such, Electrograph Technologies Corp. suffered injury as a result of Defendants’
18   unlawful conduct.
19          25.     Electrograph Systems, Inc. was incorporated under the name Electrograph
20   Acquisitions, Inc. on April 10, 1997. On April 28, 1997, Manchester Equipment Co., Inc.-the
21   predecessor to Electrograph Technologies Corp.-acquired the business of Electrograph
22   Acquisitions, Inc. from Bitwise Designs, Inc. On April 29, 1997, Electrograph Acquisitions, Inc.
23   changed its name to Electrograph Systems, Inc. During the Relevant Period, Electrograph
24   Systems, Inc., and its subsidiaries and affiliates, purchased CRT Products in the United States
25   and elsewhere directly and indirectly from Defendants, and/or Defendants’ subsidiaries and/or
26   affiliates and/or any agents Defendants or Defendants’ subsidiaries and affiliates controlled. As
27   such, Electrograph Systems, Inc. suffered injury as a result of Defendants’ unlawful conduct.
28          26.     ActiveLight, Inc. was formed on April 16, 1998, as a Washington company with
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 1   its principal place of business in the State of Washington. ActiveLight, Inc. was a value-added
 2   wholesale distributor of display technology solutions and projectors to the professional,
 3   commercial and high-end consumer markets. During the Relevant Period, ActiveLight, Inc.
 4   purchased CRT Products directly and indirectly from Defendants, and/or Defendants’
 5   subsidiaries and/or affiliates and/or any agents Defendants or Defendants’ subsidiaries and
 6   affiliates controlled.   As such, ActiveLight, Inc. suffered injury as a result of Defendants’
 7   unlawful conduct.
 8          27.     On February 21, 2006, Plaintiff, Electrograph Systems, Inc. acquired 100% of the
 9   outstanding stock of ActiveLight, Inc.     From the acquisition date through March 2, 2008,
10   ActiveLight, Inc. operated as a wholly-owned subsidiary of Electrograph Systems, Inc. On
11   March 3, 2008, ActiveLight, Inc. was merged into Electrograph Systems, Inc.
12          28.     CineLight Corporation was formed on June 11, 2001, as a Washington company
13   with its principal place of business in the State of Washington. CineLight Corporation was a
14   value-added wholesale distributor of advanced display technology products and accessories to
15   home theater designers and resellers.     During the Relevant Period, CineLight Corporation
16   purchased CRT Products directly and indirectly from Defendants, and/or Defendants’
17   subsidiaries and/or affiliates and/or any agents Defendants or Defendants’ subsidiaries and
18   affiliates controlled. As such, CineLight Corporation suffered injury as a result of Defendants’
19   unlawful conduct.
20          29.     On February 21, 2006, Electrograph Systems, Inc. acquired 100% of the
21   outstanding stock of CineLight Corporation. From the date of the acquisition until July 2006,
22   CineLight Corporation operated as a wholly-owned subsidiary of Electrograph Systems, Inc. In
23   July 2006, CineLight Corporation was merged into ActiveLight, Inc.
24          30.     International Computer Graphics, Inc. was formed on April 18, 1985, as a
25   California company with its principal place of business in California. International Computer
26   Graphics, Inc. conducted business as a specialty wholesale distributor of CRT, LCD, plasma and
27   desktop displays, digital imaging peripherals and AV presentation products. During the Relevant
28   Period, International Computer Graphics, Inc. purchased CRT Products directly and indirectly
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 1   from Defendants, and/or Defendants’ subsidiaries and/or affiliates and/or any agents Defendants
 2   or Defendants’ subsidiaries and affiliates controlled. As such, International Computer Graphics,
 3   Inc. suffered injury as a result of Defendants’ unlawful conduct.
 4          31.       On June 16, 2006, Electrograph Systems, Inc. acquired 100% of the outstanding
 5   stock of International Computer Graphics, Inc. From the date of the acquisition through March
 6   2, 2008, International Computer Graphics, Inc. operated as a wholly-owned subsidiary of
 7   Electrograph Systems, Inc. On March 3, 2008, International Computer Graphics, Inc. was
 8   merged into Electrograph Systems, Inc.
 9          32.      Champion Vision, Inc. was formed on June 19, 2003, as a New York company
10   with its principal place of business in New York. During the Relevant Period, Champion Vision,
11   Inc. purchased CRT Products directly and indirectly from Defendants, and/or Defendants’
12   subsidiaries and/or affiliates and/or any agents Defendants or Defendants’ subsidiaries and
13   affiliates controlled. As such, Champion Vision, Inc. suffered injury as a result of Defendants’
14   unlawful conduct.
15          33.      On September 15, 2008, Champion Vision, Inc. was merged into Electrograph
16   Systems, Inc.
17          34.      Coastal Office Products, Inc. was formed in 1987 as a Maryland corporation with
18   its principal place of business in Maryland. On January 6, 1998, Coastal Office Products, Inc.
19   was acquired by and became a wholly owned subsidiary of Manchester Equipment Co., Inc., the
20   predecessor to Electrograph Technologies Corp. Coastal Office Products, Inc. was a reseller and
21   provider of microcomputer services and peripherals to companies in the greater Baltimore,
22   Maryland area. During the Relevant Period, Coastal Office Products, Inc. purchased CRT
23   Products directly and indirectly from Defendants, and/or Defendants’ subsidiaries and/or
24   affiliates and/or any agents Defendants or Defendants’ subsidiaries and affiliates controlled. As
25   such, Coastal Office Products, Inc. suffered injury as a result of Defendants’ unlawful conduct.
26   In 2008, Coastal Office Products, Inc. was merged into Electrograph Systems, Inc.
27          35.      In 2008, Coastal Office Products, Inc. was merged into Electrograph Systems,
28   Inc.
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 1          36.     During the Relevant Period, Electrograph Systems, Inc. acquired all of the
 2   outstanding stock of ActiveLight, Inc., CineLight Corporation and International Computer
 3   Graphics, Inc. and formed Champion Vision, Inc. as a wholly-owned subsidiary. In addition,
 4   during the Relevant Period, Electrograph Technologies Corp. acquired all of the outstanding
 5   stock of Coastal Office Products, Inc.      As such, the entities known as ActiveLight, Inc.,
 6   CineLight Corporation, International Computer Graphics, Inc., Champion Vision, Inc. and
 7   Coastal Office Products, Inc. are herein referred to collectively as the “predecessor entities.” By
 8   acquiring the stock of companies that purchased CRT Products, Electrograph Systems, Inc.
 9   obtained all claims and rights under federal and state laws to recover any overcharges suffered
10   by the predecessor entities. Some of the predecessor entities were also merged into Electrograph
11   Systems, Inc. and thus, Electrograph Systems, Inc. obtained all claims and rights under federal
12   and state laws to recover any overcharges suffered by the predecessor entities. As stated above,
13   during the Relevant Period, these predecessor companies purchased CRT Products manufactured
14   and sold by Defendants, their co-conspirators, and others. As a result of Defendants’ conspiracy,
15   these predecessor entities were injured in their business and property because the prices they paid
16   for CRT Products were artificially inflated by Defendants’ conspiracy. As used herein, any
17   reference to either Electrograph Systems, Inc. or Electrograph Technologies Corp. includes any
18   of the predecessor entities whose stock was acquired or obtained by either Electrograph Systems,
19   Inc. or Electrograph Technologies Corp.
20          C.      Defendants
21                  1.     Thomson Entities
22          37.     Defendant Thomson SA (now known as Technicolor SA) (“Thomson SA”) is a
23   French Corporation with its principal place of business located at 1-5 Rue Jeanne d’Arc 92130
24   Issy-les-Moulineaux, France. Thomson SA, on its own or through its wholly owned subsidiary
25   Thomson Consumer Electronics, Inc., and other subsidiaries, was a major manufacturer of CRTs
26   for the United States market, with plants located in the United States, Mexico, China and Europe.
27   Thomson SA sold its CRTs internally to its television-manufacturing division, which had plants
28   in the United States and Mexico, and to other television manufacturers in the United States and
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 1   elsewhere. For much of the Relevant Period, the television manufacturing division of Thomson
 2   SA manufactured and sold in the United States CRT televisions under the RCA and GE brands.
 3   In July 2005, Thomson SA sold its CRT business to defendant and co-conspirator Videocon
 4   Industries, Ltd. for €240 million. Simultaneously, Thomson SA invested a total of €240 million
 5   in Videocon, comprised of a €225 million investment in Videocon Industries, Ltd. and a €15
 6   million investment in Videocon International, and acquired 13.1% of Videocon Industries, Ltd.
 7   The agreement with Videocon provided that Thomson management would help Videocon run the
 8   CRT business during the transition period and beyond. Videocon and Thomson also agreed to
 9   set up Preferred Supplier Agreements for Thomson’s display components business. Thomson
10   SA also received at least one seat on Videocon’s board of directors when it invested in Videocon
11   Industries, Ltd.   Thomson SA maintained at least a 10% ownership interest in Videocon
12   Industries, Ltd. for the remainder of the Relevant Period.     In January 2010, Thomson SA
13   changed its name to Technicolor SA. During the Relevant Period, Thomson SA manufactured,
14   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
15   affiliates, to customers throughout the United States.
16          38.     Defendant Thomson Consumer Electronics, Inc. (now known as Technicolor
17   USA, Inc.) (“Thomson Consumer”) is a United States corporation with its principal place of
18   business located at 10330 N Meridian St., Indianapolis, Indiana 46290-1024.                 Thomson
19   Consumer is a wholly owned subsidiary of Thomson SA and was Thomson SA’s primary
20   subsidiary for the manufacture and sales of CRTs in the United States during the Relevant
21   Period. Thomson Consumer was a major manufacturer of CRTs for the United States market,
22   with plants located in Scranton, Pennsylvania; Marion, Indiana; and Mexicali, Mexico.
23   Thomson Consumer sold its CRTs to television manufacturers in the United States, Mexico and
24   elsewhere.   Thomson Consumer’s CRT business was sold by its parent Thomson SA to
25   Videocon Industries, Ltd. in 2005. Simultaneously, Thomson Consumer’s parent company
26   Thomson SA invested €240 million into Videocon Industries, Ltd. and obtained 13.1%
27   ownership of Videocon Industries, Ltd.        Thomson SA also received at least one seat on
28   Videocon’s board of directors when it invested in Videocon Industries, Ltd. The agreement with
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 1   Videocon provided that Thomson management would help Videocon run the CRT business
 2   during the transition period and beyond. Videocon and Thomson also to set up Preferred
 3   Supplier Agreements for Thomson’s displays components businesses. Thomson SA maintained
 4   at least a 10% ownership interest in Videocon Industries, Ltd. throughout the Relevant Period.
 5   Thomson Consumer was a parent corporation of its wholly owned subsidiary, Thomson Displays
 6   Americas LLC (now known as Technologies Displays America, LLC).                     In January 2010,
 7   Thomson Consumer Electronics, Inc. changed its name to Technicolor USA, Inc. During the
 8   Relevant Period, Thomson Consumer manufactured, marketed, sold and/or distributed CRT
 9   Products either directly or through its subsidiaries or affiliates throughout the United States.
10          39.     Defendant Thomson SA had sufficient minimum contacts with the United States
11   during the Relevant Period for it to be subject to personal jurisdiction in the United States.
12   Thomson SA purposefully availed itself of the United States market for CRTs and CRT
13   products. Thomson SA fixed prices and constrained competition on CRTs it and its wholly
14   owned subsidiary in the United States, Thomson Consumer, sold in the United States. Thomson
15   SA had significant contacts with the United States, and it dominated and/or controlled the
16   finances, policies, and/or affairs of its U.S.-based subsidiary, Thomson Consumer, relating to the
17   antitrust violations alleged in this Complaint. During the Relevant Period, Thomson SA was a
18   large multinational industrial and technology company.          Thomson SA was neither a mere
19   holding company nor a corporate shell, and its subsidiaries, including Thomson Consumer, were
20   more than simple investment mechanisms for diversifying risk. Thomson SA had a controlling
21   role in the operation of its subsidiaries and exercised a central management function over its
22   subsidiaries, including Thomson Consumer, which served the function of servicing the pivotal
23   U.S. CRT market. During the Relevant Period, between 40-50% of Thomson SA’s revenues
24   were derived from the United States, and Thomson SA’s CEO described the United States as
25   Thomson SA’s most important market. Thomson SA managed its business centrally, including
26   that of U.S. subsidiary Thomson Consumer, and its management and board of directors set its
27   policies and direction. Thomson SA employees oversaw the United States profits and losses
28   associated with Thomson Consumer’s high-end and value TV businesses. Thomson SA also was
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 1   involved in planning and purchasing discussions with U.S. CRT customers, Thomson SA had to
 2   approve the purchases made by U.S. customers, and Thomson SA was involved in CRT
 3   production and pricing discussions relating to CRTs manufactured in Mexico for the North
 4   American market. During the Relevant Period, many Thomson SA executives also served as
 5   executives and/or board members of Thomson Consumer, and Thomson Consumer executives
 6   served as executive officers of or directors of Thomson SA, including the Chairman and CEO of
 7   Thomson SA who simultaneously served as the President and CEO of Thomson Consumer, and
 8   thereafter as the Chairman of Thomson Consumer:
 9
     Name                     Role with Thomson SA               Role with Thomson Consumer
10
     Thierry Breton           Chairman and CEO (1997-2001); President & CEO (1997-2000);
11                            Member, Board of Directors Chairman (1997-2001)
                              (2002-2005)
12   Olivier Mallet           Senior Vice President, Finance Director (1999-2000)
                              (1996-2000)
13
     Charles Dehelly          Senior Executive Vice President Director (2002-2003)
14                            (1998-2000); Senior Executive
                              Vice President and COO (2001);
15                            CEO (2002-2004)
16   Julian Waldron           Senior Executive Vice President, Director (2001-2007)
                              CFO (2001-2007); Interim CEO
17                            and Senior Executive Vice
                              President, CFO (2007-2008)
18   Frederic Rose            CEO (2008-present)                 Chairman (2012-present)
19   Moreover, numerous other Thomson SA “Executive Officers” had operational responsibilities in
20   the United States:     Jim Meyer was Senior Executive Vice President of SBUs Americas,
21   Multimedia Products and New Media Services; Al Arras was Executive Vice President of SBU
22   Audio and Communications; Michael O’Hara was Senior Vice President of SBU Americas; and
23   Enrique Rodriguez was Vice President of SBU Multimedia Products. All were stationed at
24   Thomson Consumer in Indianapolis, Indiana.
25          40.       Thomson SA and Thomson Consumer are collectively referred to herein as
26   “Thomson.”
27                    2.     Videocon
28          41.       Defendant Videocon Industries, Ltd. (“Videocon”) is an Indian corporation with
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 1   its principal place of business located at Aurangabad Paithan Road 14, KM Stone, Chitegaon,
 2   Aurangabad 431005, India. In 2005, Videocon acquired Thomson’s CRT business for €240
 3   million, which included facilities and personnel in the United States, Poland, Italy, Mexico and
 4   China. The deal for Videocon to acquire Thomson SA’s CRT business was completed through a
 5   special purpose vehicle, Eagle Electronics.       At the same time that Videocon purchased
 6   Thomson’s CRT business, Thomson SA invested a total of €240 million in Videocon, comprised
 7   of a €225 million investment in Videocon Industries, Ltd. and a €15 million investment in
 8   Videocon International, and acquired 13.1% of Videocon Industries, Ltd. The agreement with
 9   Videocon provided that Thomson management would help Videocon run the CRT business
10   during the transition period and beyond. Videocon and Thomson also set up Preferred Supplier
11   Agreements for Thomson’s displays components businesses. Thomson SA maintained at least a
12   10% ownership interest in Videocon throughout the Relevant Period. Thomson SA also received
13   one or more seats on Videocon’s board of directors when it invested in Videocon. Videocon’s
14   purchase of Thomson’s CRT business included acquisition of Thomson Displays Americas LLC
15   (now known as Technologies Displays Americas, LLC) and its Mexican subsidiary, Thomson
16   Displays Mexicana, S.A. de C.V. (now known as Technologies Displays Mexicana, S.A. de
17   C.V.), including their facilities and personnel located in the United States, through Videocon’s
18   wholly owned investment entity located in the Cayman Islands, Eagle Corporation Limited.
19   Videocon manufactured CRTs for the United States market in Thomson’s former CRT plants in
20   Mexicali, Mexico and China. During the Relevant Period, Videocon manufactured, marketed,
21   sold and/or distributed CRT Products, either directly or indirectly through its subsidiaries or
22   affiliates, to customers throughout the United States.
23                  3.      Technologies Displays
24          42.     Defendant Technologies Displays Americas LLC (formerly Thomson Displays
25   Americas LLC) (“TDA”) is a Delaware limited liability company with its principal place of
26   business located at 1778 Carr Road Ste 4B, Calexico, California 92231. TDA is a wholly owned
27   subsidiary of Videocon. TDA acquired Thomson’s U.S. CRT assets in 2005 after a period of
28   cooperation and transition with Thomson entities subsequent to and in connection with the
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 1   purchase and sale in 2005. TDA was originally formed with its governing members represented
 2   equally from both Thomson and Videocon. TDA is owned by Eagle Corp., Ltd. Eagle Corp.,
 3   Ltd. became a wholly owned subsidiary of Videocon on December 31, 2005, after Videocon
 4   acquired the balance 81% equity stake in Eagle Corp., Ltd. Eagle Corp., Ltd. acquired TDA in
 5   September 2005. In August 2005, Thomson Consumer made a capital contribution to TDA in
 6   the form of a transfer of assets and contract rights related to TDA’s North American CRT
 7   business. TDA is the parent corporation of its co-conspirator, Technologies Displays Mexicana,
 8   S.A. de C.V., a Mexican corporation which during the Relevant Period manufactured CRTs and
 9   sold the CRTs to TDA for sale and distribution.             During the Relevant Period, TDA
10   manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly
11   through its subsidiaries or affiliates, to customers throughout the United States. Defendants
12   Thomson and then Videocon dominated and/or controlled the finances, policies, and/or affairs of
13   TDA and its subsidiary Technologies Displays Mexicana, S.A. de C.V., relating to the antitrust
14   violations alleged in this Complaint.           Two high-level Thomson managers—Thomson’s
15   Managing Director of NAFTA Sales, Jack K. Brunk (“Brunk”), and Thomson’s General
16   Manager, James P. Hanrahan (“Hanrahan”)—transitioned to work for TDA after it acquired
17   Thomson’s CRT business. In addition, TDA referred to itself as a “Thomson” business after
18   Videocon’s acquisition of Thomson’s CRT business.             TDA and Technologies Displays
19   Mexicana, S.A. de C.V., are collectively referred to as “Technologies Displays.”
20                    4.       Mitsubishi Entities
21          43.       Defendant Mitsubishi Electric Corporation (“Mitsubishi Electric Japan”) is a
22   Japanese corporation located at Building 2-7-3, Marunouchi, Chiyoda-ku, Tokyo 100-8310,
23   Japan. Mitsubishi Electric Japan is a Fortune Global 500 Company that was ranked 214 in 2011
24   and that had combined net sales of over $44 billion in 2012. It has various subsidiaries operating
25   in the United States, Mexico, and Canada.          Mitsubishi Electric Japan and its subsidiaries
26   manufactured CRTs in factories located in Japan, Taiwan, Mexico and Canada for sale in the
27   United States.        These CRTs were sold internally to Mitsubishi’s television and monitor
28   manufacturing division and to other television and monitor manufacturers in the United States
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 1   and elsewhere. Mitsubishi’s television and monitor division also purchased CRTs from other
 2   CRT manufacturers.      During the Relevant Period, Mitsubishi Electric Japan manufactured,
 3   marketed, sold and distributed CRT Products in the United States.
 4          44.     Defendant Mitsubishi Electric & Electronics USA, Inc. (“Mitsubishi Electric
 5   USA”) is a United States corporation located at 5665 Plaza Drive, Cypress, California 90630.
 6   Mitsubishi Electric USA is a wholly-owned subsidiary of Mitsubishi Electric Japan. Mitsubishi
 7   Electric USA manufactured CRTs for the United States market in plants located in Mexicali,
 8   Mexico and Ontario, Canada. Mitsubishi Electric USA sold its CRTs internally to its television
 9   and monitor manufacturing division and to other television and monitor manufacturers in the
10   United States and elsewhere. Mitsubishi’s television and monitor division also purchased CRTs
11   from other CRT manufacturers.         During the Relevant Period, Mitsubishi Electric USA
12   manufactured, marketed, sold and distributed CRT Products in the United States.
13          45.     Defendant Mitsubishi Electric Visual Solutions America, Inc. (f/k/a Mitsubishi
14   Digital Electronics America, Inc.) (“Mitsubishi Digital”) is a United States corporation located
15   at 9351 Jeronimo Road, Irvine, California          92618.   Mitsubishi Digital is a wholly-owned
16   subsidiary of Mitsubishi Electric Japan.      During the Relevant Period, Mitsubishi Digital
17   manufactured, marketed, sold and distributed CRT Products in the United States.
18          46.     Mitsubishi Electric Japan, Mitsubishi Electric USA and Mitsubishi Digital are
19   collectively referred to herein as “Mitsubishi.”
20          D.      Co-Conspirators
21          47.     Various persons and firms not named as Defendants in this Complaint
22   participated as co-conspirators in the violations alleged herein and performed acts and made
23   statements in furtherance of the conspiracy to fix, raise, stabilize and maintain prices for CRTs.
24   Many of these co-conspirators are named as defendants in the related case Electrograph Systems,
25   Inc., et al. v. Hitachi, Ltd., et al. Individual Case No. 11-cv-00831-JS-AKT, filed in the Eastern
26   District of New York and presently pending before this Court (Individual Case No. 3:11-cv-
27   01656-SC, Master File No. 3:07-cv-05944-SC, MDL No. 1917). Specific information regarding
28   the identity of these co-conspirators and their participation in the CRT price-fixing conspiracy is
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 1   set forth in the Second Amended Complaint in Electrograph Systems, Inc., et al. v. Hitachi, Ltd.,
 2   et al. (MDL Doc. No. 1976).
 3          48.     Co-conspirator Hitachi, Ltd. is a Japanese company with its principal place of
 4   business at 6-6, Marunouchi 1-chome, Chiyoda-ku, Tokyo, 100-8280, Japan. Hitachi, Ltd. is the
 5   parent company for the Hitachi brand of CRT Products. In 1996, Hitachi, Ltd.’s worldwide
 6   market share for color CRTs was 20 percent.                During the Relevant Period, Hitachi, Ltd.
 7   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
 8   subsidiaries or affiliates, throughout the United States.
 9          49.     Co-conspirator Hitachi Displays, Ltd. (“Hitachi Displays”) is a Japanese
10   company with its principal place of business located at 3300 Hayano, Mobara-shi, Chiba-ken,
11   297-8622, Japan. Hitachi Displays was originally established as Mobara Works of Hitachi, Ltd.
12   in Mobara City, Japan, in 1943. In 2002, all the departments of planning, development, design,
13   manufacturing and sales concerned with the display business of Hitachi, Ltd. were spun off to
14   create a separate company called Hitachi Displays.              During the Relevant Period, Hitachi
15   Displays manufactured, marketed, sold and/or distributed CRT Products, either directly or
16   through its subsidiaries or affiliates, throughout the United States. Co-conspirator Hitachi, Ltd.
17   dominated and controlled the finances, policies and affairs of Hitachi Displays relating to the
18   antitrust violations alleged in this complaint.
19          50.     Co-conspirator Hitachi America, Ltd. (“Hitachi America”) is a New York
20   company with its principal place of business located at 50 Prospect Avenue, Tarrytown, New
21   York 10591.     Hitachi America is a wholly-owned and controlled subsidiary of Defendant
22   Hitachi, Ltd. During the Relevant Period, Hitachi America manufactured, marketed, sold and/or
23   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
24   United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances, policies and
25   affairs of Hitachi America relating to the antitrust violations alleged in this complaint.
26          51.     Co-conspirator Hitachi Asia, Ltd. (“Hitachi Asia”) is a Singaporean company
27   with its principal place of business located at 7 Tampines Grande, #08-01 Hitachi Square,
28   Singapore 528736. Hitachi Asia is a wholly-owned and controlled subsidiary of Defendant
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 1   Hitachi, Ltd. During the Relevant Period, Hitachi Asia manufactured, marketed, sold and/or
 2   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
 3   United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances, policies and
 4   affairs of Hitachi Asia relating to the antitrust violations alleged in this complaint.
 5             52.   Co-conspirator Hitachi Electronic Devices (USA), Inc. (“HEDUS”) is a Delaware
 6   corporation with its principal place of business located at 1000 Hurricane Shoals Road Suite D-
 7   100, Lawrenceville, GA 30043. HEDUS is a subsidiary of Defendant Hitachi, Ltd and Hitachi
 8   Displays. During the Relevant Period, HEDUS manufactured, marketed, sold and/or distributed
 9   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
10   States.    Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and controlled the
11   finances, policies and affairs of HEDUS relating to the antitrust violations alleged in this
12   complaint.
13             53.   Co-conspirator Shenzhen SEG Hitachi Color Display Devices, Ltd. (“Hitachi
14   Shenzhen”) was a Chinese company with its principal place of business located at 5001
15   Huanggang Road, Futian District, Shenzhen 518035, China. Hitachi Displays, Ltd. owned at
16   least a 25% interesting in Hitachi Shenzhen until November 8, 2007 (which was coincidentally
17   around the time that the government investigations into the CRT industry began). Thus, Hitachi
18   Shenzhen was a member of the Hitachi corporate group for all but the last two weeks of the
19   Relevant Period. During the Relevant Period, Hitachi Shenzhen manufactured, marketed, sold
20   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
21   throughout the United States. Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and
22   controlled the finances, policies and affairs of Hitachi Shenzhen relating to the antitrust
23   violations alleged in this complaint.
24             54.   Co-conspirators Hitachi Ltd., Hitachi Displays, Hitachi America, Hitachi Asia,
25   HEDUS and Hitachi Shenzhen are collectively referred to herein as “Hitachi.”
26             55.   Co-conspirator IRICO Group Corporation (“IGC”) is a Chinese company with its
27   principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province 712021.
28   IGC is the parent company for multiple subsidiaries engaged in the manufacture, marketing,
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 1   distribution and sale of CRT Products.         During the Relevant Period, IGC manufactured,
 2   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
 3   affiliates, throughout the United States.
 4          56.        Co-conspirator IRICO Group Electronics Co., Ltd. (“IGE”) is a Chinese company
 5   with its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province
 6   712021. IGE is owned by Defendant IGC. According to its website, IGE was the first CRT
 7   manufacturer in China and one of the leading global manufacturers of CRTs. Its website also
 8   claims that in 2003 it was the largest CRT manufacturer in China in terms of production and
 9   sales volume, sales revenue and aggregated profit, and taxation. During the Relevant Period,
10   IGE manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
11   subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and
12   controlled the finances, policies and affairs of IGE relating to the antitrust violations alleged in
13   this complaint.
14          57.        Co-conspirator IRICO Display Devices Co., Ltd. (“IDDC”) is a Chinese company
15   with its principal place of business located at No. 16, Fenghui South Road West, District High-
16   tech Development Zone, Xi’an, SXI 710075. IDDC is a partially-owned subsidiary of co-
17   conspirator IGC. In 2006, IDDC was China’s top CRT maker. During the Relevant Period,
18   IDDC manufactured, marketed, distributed and/or sold CRT Products, either directly or through
19   its subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and
20   controlled the finances, policies and affairs of IDDC relating to the antitrust violations alleged in
21   this complaint.
22          58.        Co-conspirators IGC, IGE and IDDC are collectively referred to herein as
23   “IRICO.”
24          59.        Co-conspirator LG Electronics, Inc. (“LGEI”) is a corporation organized under
25   the laws of the Republic of Korea with its principal place of business located at LG Twin
26   Towers, 20 Yeouido-dong, Yeongdeungpo-gu, Seoul 150-721, South Korea. LGEI is a $48.5
27   billion global force in consumer electronics, home appliances and mobile communications,
28   which established its first overseas branch office in New York in 1968. The company’s name
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 1   was changed from Gold Star Communications to LGEI in 1995, the year in which it also
 2   acquired Zenith in the United States. In 2001, LGEI transferred its CRT business to a 50/50 joint
 3   venture with co-conspirator Koninklijke Philips Electronics N.V. called LG.Philips Displays
 4   (“LGPD”). On April 1, 2007, LGPD became an independent company and changed its name to
 5   LP Displays International Ltd. During the Relevant Period, LGEI manufactured, marketed, sold
 6   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
 7   throughout the United States.
 8          60.      Co-conspirator LG Electronics USA, Inc. (“LGEUSA”) is a Delaware
 9   corporation with its principal place of business located at 1000 Sylvan Ave., Englewood Cliffs,
10   New Jersey 07632. LGEUSA is a wholly-owned and controlled subsidiary of co-conspirator
11   LGEI. During the Relevant Period, LGEUSA manufactured, marketed, sold and/or distributed
12   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
13   States. Co-conspirator LGEI dominated and controlled the finances, policies and affairs of
14   LGEUSA relating to the antitrust violations alleged in this complaint.
15          61.      Co-conspirators LGEI and LGEUSA are collectively referred to herein as “LG
16   Electronics.”
17          62.      Co-conspirator LP Displays International Ltd. f/k/a LGPD (“LP Displays”) is a
18   Hong Kong company located at Corporate Communications, 6th Floor, ING Tower, 308 Des
19   Voeux Road Central, Sheung Wan, Hong Kong. LP Displays is the successor entity to LGPD,
20   which was created in 2001 as a 50/50 joint venture between co-conspirators LGEI and Royal
21   Philips. In March 2007, LP Displays became an independent company. LP Displays is a leading
22   supplier of CRTs for use in television sets and computer monitors with annual sales for 2006 of
23   over $2 billion and a market share of 27%. LP Displays announced in March 2007 that Royal
24   Philips and LGEI would cede control over the company and the shares would be owned by
25   financial institutions and private equity firms.        During the Relevant Period, LP Displays
26   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
27   subsidiaries or affiliates, throughout the United States.
28          63.      Co-conspirator Panasonic Corporation, which was at all times during the Relevant
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 1   Period known as Matsushita Electric Industrial Co, Ltd. and only became Panasonic Corporation
 2   on October 1, 2008, is a Japanese entity located at 1006 Oaza Kadoma, Kadoma-shi, Osaka 571-
 3   8501, Japan. During the Relevant Period, Panasonic Corporation manufactured, marketed, sold
 4   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
 5   throughout the United States.
 6          64.     Co-conspirator Panasonic Corporation of North America (“PCNA”) is a
 7   Delaware corporation with its principal place of business located at One Panasonic Way,
 8   Secaucus, New Jersey 07094.        PCNA is a wholly-owned and controlled subsidiary of co-
 9   conspirator Panasonic Corporation. During the Relevant Period, PCNA manufactured, marketed,
10   sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
11   throughout the United States. Co-conspirator Panasonic Corporation dominated and controlled
12   the finances, policies and affairs of PCNA relating to the antitrust violations alleged in this
13   complaint.
14          65.     Co-conspirator Matsushita Electronic Corporation (Malaysia) Sdn. Bhd.
15   (“Matsushita Malaysia”) was a Malaysian company with its principal place of business located
16   at Lot 1, Persiaran Tengku Ampuan Section 21, Shah Alam Industrial Site, Shah Alam Malaysia
17   40000. Matsushita Malaysia was a wholly-owned and controlled subsidiary of co-conspirator
18   Panasonic Corporation. Panasonic Corporation transferred Matsushita Malaysia to MT Picture
19   Display Co., Ltd. (“MTPD”), its CRT joint venture with Toshiba Corporation, in 2003. It was
20   re-named MT Picture Display (Malaysia) Sdn. Bhd. and operated as a wholly-owned subsidiary
21   of MTPD until its closure in 2006.           During the Relevant Period, Matsushita Malaysia
22   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
23   subsidiaries or affiliates, throughout the United States. Co-conspirator Panasonic Corporation
24   dominated and controlled the finances, policies and affairs of Matsushita Malaysia relating to the
25   antitrust violations alleged in this complaint.
26          66.     Co-conspirators Panasonic Corporation,      PCNA, and Matushita Malaysia are
27   collectively referred to herein as “Panasonic.”
28          67.     Co-conspirator MT Picture Display Co., Ltd., f/k/a Matsushita Toshiba Picture
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 1   Display Co., Ltd. (“MTPD”) is a Japanese entity located at 1-15 Matsuo-cho, Kadoma-shi,
 2   Osaka, 571-8504, Japan. In 2002, Panasonic Corporation entered into a joint venture with co-
 3   conspirator Toshiba Corporation called Matsushita Toshiba Picture Display Co., Ltd. to
 4   manufacture CRTs. Panasonic Corporation was the majority owner with 64.5 percent. On
 5   March 30, 2007, Panasonic Corporation purchased the remaining 35.5 percent stake in the joint
 6   venture, making Matsushita Picture Display Co., Ltd. a wholly-owned subsidiary of Panasonic
 7   Corporation, and renaming it MT Picture Display Co., Ltd. During the Relevant Period, MTPD
 8   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
 9   subsidiaries or affiliates, throughout the United States.
10             68.   Co-conspirator Beijing Matsushita Color CRT Co., Ltd. (“BMCC”) is a Chinese
11   company with its principal place of business located at No. 9 Jiuxianqiao N. Rd., Dashanzi
12   Chaoyang District, Beijing, China. BMCC is a joint venture company, 50% of which is held by
13   co-conspirator MTPD. The other 50% is held by Beijing Orient Electronics (Group) Co., Ltd.,
14   China National Electronics Import & Export Beijing Company (a China state-owned enterprise),
15   and Beijing Yayunchun Brach of the Industrial and Commercial Bank of China (a China state-
16   owned enterprise).      Formed in 1987, BMCC was Panasonic Corporation’s first CRT
17   manufacturing facility in China. BMCC is the second largest producer of CRTs for televisions in
18   China. During the Relevant Period, BMCC manufactured, marketed, sold and/or distributed
19   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
20   States.
21             69.   Co-conspirator Koninklijke Philips Electronics N.V. a/k/a Royal Philips
22   Electronics (“Royal Philips”) is a Dutch company with its principal place of business located at
23   Amstelplein 2, 1070 MX Amsterdam, The Netherlands. Royal Philips, founded in 1891, is one
24   of the world’s largest electronics companies, with 160,900 employees located in over 60
25   countries. Royal Philips had sole ownership of its CRT business until 2001. In 2001, Royal
26   Philips transferred its CRT business to a 50/50 joint venture with co-conspirator LGEI, forming
27   co-conspirator LGPD (n/k/a LP Displays). In December 2005, as a result of increased pressure
28   on demand and prices for CRT Products, Royal Philips wrote off the remaining book value of
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 1   126 million Euros of its investment and said it would not inject further capital into the venture.
 2   During the Relevant Period, Royal Philips manufactured, marketed, sold and/or distributed CRT
 3   Products, either directly or through its subsidiaries or affiliates, throughout the United States.
 4          70.     Co-conspirator Philips Electronics North America Corporation (“Philips
 5   America”) is a Delaware corporation with its principal place of business located at 1251 Avenue
 6   of the Americas, New York, New York 10020-1104. Philips America is a wholly-owned and
 7   controlled subsidiary of co-conspirator Royal Philips.            During the Relevant Period, Philips
 8   America manufactured, marketed, sold and/or distributed CRT Products, either directly or
 9   through its subsidiaries or affiliates, throughout the United States. Co-conspirator Royal Philips
10   dominated and controlled the finances, policies and affairs of Philips America relating to the
11   antitrust violations alleged in this complaint.
12          71.     Co-conspirator Philips Electronics Industries (Taiwan), Ltd. (“Philips Taiwan”)
13   is a Taiwanese company with its principal place of business located at 15F 3-1 Yuanqu Street,
14   Nangang District, Taipei, Taiwan.        Philips Taiwan is a subsidiary of co-conspirator Royal
15   Philips.   During the Relevant Period, Philips Taiwan manufactured, marketed, sold and/or
16   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
17   United States. Co-conspirator Royal Philips dominated and controlled the finances, policies and
18   affairs of Philips Taiwan relating to the antitrust violations alleged in this complaint.
19          72.     Co-conspirator Philips da Amazonia Industria Electronica Ltda. (“Philips
20   Brazil”) is a Brazilian company with its principal place of business located at Av Torquato
21   Tapajos 2236, 1 andar (parte 1), Flores, Manaus, AM 39048-660, Brazil. Philips Brazil is a
22   wholly-owned and controlled subsidiary of co-conspirator Royal Philips. During the Relevant
23   Period, Philips Brazil manufactured, marketed, sold and/or distributed CRT Products, either
24   directly or through its subsidiaries or affiliates, throughout the United States. Co-conspirator
25   Royal Philips dominated and controlled the finances, policies and affairs of Philips Brazil
26   relating to the antitrust violations alleged in this complaint.
27          73.     Co-conspirators Royal Philips, Philips America, Philips Taiwan and Philips Brazil
28   are collectively referred to herein as “Philips.”
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 1          74.     Co-conspirator Samsung SDI Co., Ltd. f/k/a Samsung Display Device Company
 2   (“Samsung SDI”) is a South Korean company with its principal place of business located at 575
 3   Shin-dong, Youngtong-gu, Suwon, South Korea. Samsung SDI is a public company. Samsung
 4   Electronics Corporation (“SEC”) is a major shareholder of Samsung SDI, holding almost 20
 5   percent of the stock. Founded in 1970, Samsung SDI claims to be the world’s leading company
 6   in the display and energy business, with 28,000 employees and facilities in 18 countries. In
 7   2002, Samsung SDI held a 34.3% worldwide market share in the market for CRTs; more than
 8   any other producer. Samsung SDI has offices in Chicago and San Diego. During the Relevant
 9   Period, Samsung SDI manufactured, marketed, sold and/or distributed CRT Products, either
10   directly or through its subsidiaries or affiliates, throughout the United States. SEC dominated
11   and controlled the finances, policies and affairs of Samsung SDI relating to the antitrust
12   violations alleged in this complaint.
13          75.     Co-conspirator Samsung SDI America, Inc. (“Samsung SDI America”) is a
14   California corporation with its principal place of business located at 3333 Michelson Drive, Suite
15   700, Irvine, California 92612.      Samsung SDI America is a wholly-owned and controlled
16   subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI America
17   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
18   subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
19   dominated and controlled the finances, policies and affairs of Samsung SDI America relating to
20   the antitrust violations alleged in this complaint.
21          76.     Co-conspirator Samsung SDI Mexico S.A. de C.V. (“Samsung SDI Mexico”) is
22   a Mexican company with its principal place of business located at Blvd. Los Olivos, No. 21014,
23   Parque Industrial El Florido, Tijuana, B.C. Mexico. Samsung SDI Mexico is a wholly-owned
24   and controlled subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung
25   SDI Mexico manufactured, marketed, sold and/or distributed CRT Products, either directly or
26   through its subsidiaries or affiliates, throughout the United States. SEC and co-conspirator
27   Samsung SDI dominated and controlled the finances, policies and affairs of Samsung SDI
28   Mexico relating to the antitrust violations alleged in this complaint.
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 1          77.     Co-conspirator Samsung SDI Brasil Ltda. (“Samsung SDI Brazil”) is a Brazilian
 2   company with its principal place of business located at Av. Eixo Norte Sul, S/N, Distrito
 3   Industrial, 69088-480 Manaus, Amazonas, Brazil. Samsung SDI Brazil is a wholly-owned and
 4   controlled subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung
 5   SDI Brazil manufactured, marketed, sold and/or distributed CRT Products, either directly or
 6   through its subsidiaries or affiliates, throughout the United States. SEC and co-conspirator
 7   Samsung SDI dominated and controlled the finances, policies and affairs of Samsung SDI Brazil
 8   relating to the antitrust violations alleged in this complaint.
 9          78.     Co-conspirator Shenzhen Samsung SDI Co., Ltd. (“Samsung SDI Shenzhen”) is
10   a Chinese company with its principal place of business located at Huanggang Bei Lu, Futian Gu,
11   Shenzhen, China. Samsung SDI Shenzhen is a wholly-owned and controlled subsidiary of co-
12   conspirator Samsung SDI. During the Relevant Period, Samsung SDI Shenzhen manufactured,
13   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
14   affiliates, throughout the United States. SEC and co-conspirator Samsung SDI dominated and
15   controlled the finances, policies and affairs of Samsung SDI Shenzhen relating to the antitrust
16   violations alleged in this complaint.
17          79.     Co-conspirator Tianjin Samsung SDI Co., Ltd. (“Samsung SDI Tianjin”) is a
18   Chinese company with its principal place of business located at Developing Zone of Yi-Xian
19   Park, Wuqing County, Tianjin, China. Samsung SDI Tianjin is a wholly-owned and controlled
20   subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI Tianjin
21   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
22   subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
23   dominated and controlled the finances, policies and affairs of Samsung SDI Tianjin relating to
24   the antitrust violations alleged in this complaint.
25          80.     Co-conspirator Samsung SDI (Malaysia) Sdn. Bhd. (“Samsung SDI Malaysia”)
26   is a Malaysian corporation with its principal place of business located at Lots 635 & 660,
27   Kawasan Perindustrian, Tuanku Jafaar, 71450 Sungai Gadut, Negeri Sembilan Darul Khusus,
28   Malaysia. Samsung SDI Malaysia is a wholly-owned and controlled subsidiary of co-conspirator
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 1   Samsung SDI. During the Relevant Period, Samsung SDI Malaysia manufactured, marketed,
 2   sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
 3   throughout the United States. SEC and co-conspirator Samsung SDI dominated and controlled
 4   the finances, policies and affairs of Samsung SDI Malaysia relating to the antitrust violations
 5   alleged in this complaint.
 6           81.      Co-conspirators Samsung SDI, Samsung SDI America, Samsung SDI Mexico,
 7   Samsung SDI Brazil, Samsung SDI Shenzhen, Samsung SDI Tianjin and Samsung SDI Malaysia
 8   are collectively referred to herein as “Samsung SDI.”
 9           82.      Co-conspirator Samtel Color Ltd. (“Samtel”) is an Indian company with its
10   principal place of business located at 52, Community Centre, New Friends Colony, New Delhi-
11   110065. Samtel’s market share for CRTs sold in India is approximately 40%, and it is that
12   country’s largest exporter of CRT Products. Samtel has gained safety approvals from the United
13   States, Canada, Germany, and Great Britain for its CRT Products. During the Relevant Period,
14   Samtel manufactured, marketed, sold and/or distributed CRT Products, either directly or through
15   its subsidiaries and affiliates, throughout the United States.
16           83.      Co-conspirator Thai CRT Co., Ltd. (“Thai CRT”) is a Thai company located at
17   1/F 26 Siam Cement Rd., Bangsue Dusit, Bangkok, Thailand. Thai CRT is a subsidiary of Siam
18   Cement Group, and it was established in 1986 as Thailand’s first manufacturer of CRTs for color
19   televisions.     During the Relevant Period, Thai CRT manufactured, marketed, sold and/or
20   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
21   United States.
22           84.      Co-conspirator Toshiba Corporation (“TC”) is a Japanese company with its
23   principal place of business located at 1-1, Shibaura 1-chome, Minato-ku, Tokyo 105-8001,
24   Japan. In 2001, TC held a 5 to 10 percent worldwide market share for CRTs used in televisions
25   and in computer monitors. In December 1995, TC partnered with Orion Electronic Co. and two
26   other non-Defendant entities to form P.T. Tosummit Electronic Devices Indonesia (“TEDI”) in
27   Indonesia. TEDI was projected to have an annual production capacity of 2.3 million CRTs by
28   1999.    In 2002, TC entered into MTPD, a joint venture with co-conspirator Panasonic
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 1   Corporation, in which the entities consolidated their CRT businesses. During the Relevant
 2   Period, TC manufactured, marketed, sold and/or distributed CRT Products, either directly or
 3   through its subsidiaries or affiliates, throughout the United States.
 4          85.        Co-conspirator Toshiba America, Inc. (“Toshiba America”) is a Delaware
 5   corporation with its principal place of business located at 1251 Avenue of the Americas, Suite
 6   4110, New York, New York 10020.             Toshiba America is a wholly-owned and controlled
 7   subsidiary of co-conspirator TC. During the Relevant Period, Toshiba America manufactured,
 8   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
 9   affiliates, throughout the United States.       Co-conspirator TC dominated and controlled the
10   finances, policies and affairs of Toshiba America relating to the antitrust violations alleged in
11   this complaint.
12          86.        Co-conspirator Toshiba America Consumer Products, LLC (“TACP”) is a limited
13   liability company that is headquartered at 82 Totowa Rd., Wayne, New Jersey 07470-3114.
14   TACP is a wholly-owned and controlled subsidiary of co-conspirator TC through Toshiba
15   America. During the Relevant Period, TACP manufactured, marketed, sold and/or distributed
16   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
17   States. Co-conspirator TC dominated and controlled the finances, policies and affairs of TACP
18   relating to the antitrust violations alleged in this complaint.
19          87.        Co-conspirator Toshiba America Electronic Components, Inc. (“TAEC”) is a
20   California corporation with its principal place of business located at 19900 MacArthur
21   Boulevard, Suite 400, Irvine, California 92612.          TAEC is a wholly-owned and controlled
22   subsidiary of co-conspirator TC through Toshiba America. During the Relevant Period, TAEC
23   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
24   subsidiaries or affiliates, throughout the United States.         Co-conspirator TC dominated and
25   controlled the finances, policies and affairs of TAEC relating to the antitrust violations alleged in
26   this complaint.
27          88.        Co-conspirator Toshiba America Information Systems, Inc. (“TAIS”) is a
28   California corporation with its principal place of business located at 9740 Irvine Blvd., Irvine,
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 1   California 92618-1697. TAIS is a wholly-owned and controlled subsidiary of co-conspirator TC
 2   through Toshiba America. During the Relevant Period, TAIS manufactured, marketed, sold
 3   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
 4   throughout the United States. Co-conspirator TC dominated and controlled the finances, policies
 5   and affairs of TAIS relating to the antitrust violations alleged in this complaint.
 6          89.     Co-conspirator P.T. Tosummit Electronic Devices Indonesia (“TEDI”) was a
 7   CRT joint venture formed by TC, Orion Electronic Co., and two other entities in December
 8   1995. TEDI’s principal place of business was located in Indonesia. TEDI was projected to have
 9   an annual production capacity of 2.3 million CRTs by 1999. In 2003, TEDI was transferred to
10   co-conspirator MTPD, TC’s joint venture with Panasonic Corporation, and its name was changed
11   to PT.MT Picture Display Indonesia.          During the Relevant Period, TEDI manufactured,
12   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
13   affiliates, throughout the United States.      Co-conspirator TC dominated and controlled the
14   finances, policies, and affairs of TEDI relating to the antitrust violations alleged in this
15   complaint.
16          90.     Co-conspirator Toshiba Display Devices (Thailand) Co., Ltd. (“TDDT”) was a
17   Thai company with its principal place of business located at 142 Moo 5 Bangkok Industrial
18   Estate, Tivanon Road, Pathum Thani, Thailand 12000.              TDDT was a wholly-owned and
19   controlled subsidiary of co-conspirator TC. In 2003, TDDT was transferred to co-conspirator
20   MTPD, TC’s joint venture with Panasonic Corporation. It was re-named MT Picture Display
21   (Thailand) Co., Ltd. and operated as a wholly-owned and controlled subsidiary of MTPD until its
22   closure in 2007. During the Relevant Period, TDDT manufactured, marketed, sold and/or
23   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
24   United States. Co-conspirator TC dominated and controlled the finances, policies and affairs of
25   TDDT relating to the antitrust violations alleged in this complaint.
26          91.     Co-conspirators TC, Toshiba America, TACP, TAEC, TAIS, TEDI, and TDDT
27   are collectively referred to herein as “Toshiba.”
28          92.     Co-conspirator Orion Electronic Co. (“Orion”) was a Korean corporation. It filed
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 1   for bankruptcy in 2004.       Orion was a major manufacturer of CRT Products.                   In 1995,
 2   approximately 85% of Orion’s $1 billion in sales was attributed to CRT Products. Orion was
 3   involved in CRT Products sales and manufacturing joint ventures and had subsidiaries all over
 4   the world, including South Africa, France, Indonesia, Mexico, and the United States. Plaintiffs
 5   are informed and believe that Orion was wholly owned by the “Daewoo Group.” The Daewoo
 6   Group included Daewoo Electronics Co., Ltd. (“Daewoo Electronics”), Daewoo Telecom Co.,
 7   Daewoo Corporation, and Orion Electronic Components Co.                   The Daewoo Group was
 8   dismantled in or around 1999. Daewoo Electronics and Orion were 50/50 joint venture partners
 9   in an entity called Daewoo-Orion Societe Anonyme (“DOSA”) in France. As of approximately
10   1996, DOSA produced 1.2 million CRTs annually. Daewoo sold DOSA’s CRT business in or
11   around 2004.       During the Relevant Period, Orion, Daewoo Electronics, and DOSA
12   manufactured, marketed, sold and/or distributed CRTs and/or CRT Products, either directly or
13   through their subsidiaries of affiliates, throughout the United States.
14          93.     Co-conspirators Orion, Daewoo Electronics, and DOSA are collectively referred
15   to herein as “Daewoo.”
16          94.     Co-conspirator Chunghwa Picture Tubes, Ltd. (“Chunghwa PT”) is a Taiwanese
17   company with its principal place of business at No. 1127, Heping Rd., Bade City, Taoyuan,
18   Taiwan. It was established in 1971 by Tatung Corporation to manufacture CRTs. In 1974,
19   Chunghwa PT’s CRTs received certification by the United States, giving the company entry into
20   that market. Throughout the Relevant Period, Chunghwa PT was one of the major global CRT
21   manufacturers. During the Relevant Period, Chunghwa PT manufactured, marketed, sold and/or
22   distributed CRT Products, either directly or through its subsidiaries or affiliates (such as its
23   Fuzhou subsidiary), throughout the United States.
24          95.     Co-conspirator Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. (“Chunghwa
25   Malaysia”) is a Malaysian company with its principal place of business at Lot I, Subang Hi-Tech
26   Industrial Park, Batu Tiga, 4000 Shah Alam, Selangor Darul Ehsan, Malaysia. It is a wholly-
27   owned subsidiary of Chunghwa PT. Chunghwa Malaysia is focused on CRT production, and it
28   has established itself as one of the leading worldwide suppliers of CRTs. During the Relevant
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 1   Period, Chunghwa Malaysia manufactured, marketed, sold and/or distributed CRT Products,
 2   either directly or through its subsidiaries or affiliates, throughout the United States.               Co-
 3   conspirator Chunghwa PT dominated and controlled the finances, policies and affairs of
 4   Chunghwa Malaysia relating to the antitrust violations alleged in this complaint.
 5          96.     Co-conspirators Chunghwa PT and Chunghwa Malaysia are collectively referred
 6   to herein as “Chunghwa.”
 7          97.     Co-conspirator Technologies Displays Mexicana, S.A. de C.V. (“Technologies
 8   Displays Mexicana”), formerly known as Thomson Displays Mexicana, is a Mexican
 9   corporation with its principal place of business located at Calz. Robledo Industrial Colorad,
10   Mexicali, B.C. 21384, Mexico. Technologies Displays Mexicana is a wholly owned subsidiary
11   of defendant TDA, which is itself a wholly owned subsidiary of defendant Videocon. During the
12   Relevant Period, Technologies Displays Mexicana manufactured, marketed, sold and/or
13   distributed CRT Products, either directly or indirectly through subsidiaries or affiliates, to
14   customers throughout the United States. Defendants Thomson SA and later Videocon and TDA
15   dominated and/or controlled the finances, policies and/or affairs of Technologies Displays
16   Mexicana relating to the antitrust violations alleged in this Complaint.
17          98.     Co-conspirator TCL Thomson Electronics Corporation (“TCL Thomson”) is a
18   joint venture formed between Thomson SA and TCL International Holdings Ltd. (“TCL”). TCL
19   Thomson is headquartered at the TCL Building, South Nanhai Road, Nanshan District,
20   Shenzhen, Guangdong, China.         During the Relevant Period, TCL Thomson manufactured,
21   marketed, sold and/or distributed CRT Products, either directly or indirectly through subsidiaries
22   or affiliates, to customers throughout the United States. One of the direct or indirect subsidiaries
23   of TCL Thomson or TCL that manufactured, marketed, sold and/or distributed CRT Products in
24   the United States was TTE Technology, Inc. (“TTE”). Defendant Thomson SA dominated
25   and/or controlled the finances, policies and/or affairs of TCL Thomson and TTE relating to the
26   antitrust violations alleged in this Complaint.
27   IV.    AGENTS
28          99.     The acts alleged against Defendants in this Complaint were authorized, ordered,
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 1   or done by their officers, agents, employees, or representatives, while actively engaged in the
 2   management and operation of Defendants’ businesses or affairs.
 3             100.   Each Defendant or co-conspirator acted as the principal, agent, or joint venturer
 4   of, or for, other Defendants and co-conspirators with respect to the acts, violations, and common
 5   course of conduct alleged by Plaintiffs. Each Defendant and co-conspirator that is a subsidiary
 6   of a foreign parent acts as the United States agent for CRTs and/or CRT Products made by its
 7   parent company.
 8             101.   The acts charged in this Complaint have been done by Defendants and their co-
 9   conspirators, or were authorized, ordered or done by their respective officers, agents, employees
10   or representatives while actively engaged in the management of each Defendant’s or co-
11   conspirator’s business or affairs.
12   V.        TRADE AND COMMERCE
13             102.   During the Relevant Period, each Defendant, or one or more of its subsidiaries,
14   sold CRT Products in the United States in a continuous and uninterrupted flow of interstate
15   commerce and foreign commerce, including through and into this judicial district.
16             103.   During the Relevant Period, Defendants and their co-conspirators collectively
17   controlled a vast majority of the market for CRT Products, both globally and in the United
18   States.
19             104.   The business activities of Defendants substantially affected interstate trade and
20   commerce in the United States, caused antitrust injury in the United States, and restrained
21   competition.     The business activities of Defendants also substantially affected trade and
22   commerce in California and New York and caused antitrust injuries and restrained competition
23   in California and New York.
24   VI.       FACTUAL ALLEGATIONS
25              A.    CRT Technology
26             105.   A CRT has three components: (a) one or more electron guns, each of which is a
27   series of metallic structures used to generate a beam of electrons; (b) a magnetic or other
28   deflection system used to aim the electron beam; and (c) a phosphor-coated glass faceplate that
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 1   phosphoresces when struck by an electron beam, thereby producing a viewable image. A
 2   faceplate coated with one color of phosphor produces a monochromatic image, while a faceplate
 3   coated with multiple colors of phosphor produces a polychromatic image. An aperture or
 4   shadow mask—a thin screen of perforated metal—is welded to the faceplate panel and, to
 5   produce a color image, is coated and rinsed multiple times, leaving a surface of thousands of
 6   narrow lines of red, green, blue and black.
 7          106.    CRT technology was first developed more than a century ago.                  The first
 8   commercially practical CRT television was made in 1931. However, it was not until RCA
 9   Corporation introduced the product at the 1939 World’s Fair that it became widely available to
10   consumers. After that, CRTs became the heart of most display products, including televisions,
11   computer monitors, oscilloscopes, air traffic control monitors and ATMs.
12          107.    The quality of a CRT itself determines the quality of the CRT display. No
13   external control or feature can make up for a poor quality tube. In this regard, the CRT defines
14   the whole CRT product so that the product is often simply referred to as “the CRT.”
15          108.    Although there have been refinements and incremental advancements along the
16   way since then, such as the development of thinner CRTs and CRTs with a flat screen, the CRT
17   technology used today is similar to that RCA unveiled in 1939.
18          109.    CRTs can be subdivided into CDTs and CPTs. As noted above, CPTs are used
19   primarily in televisions and related devices and CDTs are primarily used in computer monitors
20   and similar devices. The primary difference is that CDTs typically yield a higher resolution
21   image requiring more pixels than do CPTs.
22          110.    CRTs have no independent utility, and have value only as components of other
23   products, such as TVs and computer monitors. The demand for CRTs thus directly derives from
24   the demand for such products.
25          111.    The market for CRTs and the market for the products into which they are placed
26   are inextricably linked and intertwined because the CRT market exists to serve the CRT Products
27   markets. The markets for CRTs and CRT Products are, for all intents and purposes, inseparable
28   in that one would not exist without the other.
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 1          112.    Plaintiffs have participated in the market for CRTs through their direct purchases
 2   from Defendants of CRT Products containing price-fixed CRTs and their purchases of CRT
 3   Products containing price-fixed CRTs indirectly from non-Defendant original equipment
 4   manufacturers (“OEM”) and others. Defendants’ unlawful conspiracy has inflated the prices at
 5   which Plaintiffs bought CRT Products, and Plaintiffs have been injured thereby and paid supra-
 6   competitive prices for CRT Products.
 7          113.    Plaintiffs have participated in the market for products containing CRTs. To the
 8   extent Plaintiffs indirectly purchased CRTs as part of a CRT Product, Defendants’ and their co-
 9   conspirators’ unlawful conspiracy inflated the prices at which OEMs and others resold CRTs in
10   these products. Plaintiffs were not able to pass the inflated prices on to their customers.
11          114.    Plaintiffs have been injured by paying supra-competitive prices for CRT Products.
12          B.      Structure of the CRT Industry
13          115.    The CRT industry has several characteristics that facilitated a conspiracy,
14   including market concentration, ease of information sharing, the consolidation of manufacturers,
15   multiple interrelated business relationships, significant barriers to entry, heightened price
16   sensitivity to supply and demand forces and homogeneity of products.
17                  1.      Market Concentration
18          116.    During the Relevant Period, the CRT industry was dominated by relatively few
19   companies. In 2004, Samsung SDI, LGPD (n/k/a LP Displays), MTPD, and Chunghwa, together
20   held a collective 78% share of the global CRT market. The high concentration of market share
21   facilitates coordination because there are fewer cartel members among which to coordinate
22   pricing or allocate markets, and it is easier to monitor the pricing and production of other cartel
23   members.
24                  2.      Information Sharing
25          117.    Because of common membership in trade associations, interrelated business
26   arrangements such as joint ventures, allegiances between companies in certain countries and
27   relationships between the executives of certain companies, there were many opportunities for
28   Defendants and co-conspirators to discuss and exchange competitive information. The ease of
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 1   communication was facilitated by the use of meetings, telephone calls, e-mails and instant
 2   messages. Defendants and co-conspirators took advantage of these opportunities to discuss, and
 3   agree upon, their pricing for CRTs as alleged below.
 4                  3.      Consolidation
 5          118.    The CRT industry also had significant consolidation during the Relevant Period,
 6   including but not limited to: (a) the creation of LGPD in 2001, which was a joint venture
 7   involving Philips’ and LG Electronics’ CRT businesses; and (b) the 2002 merger of Toshiba’s
 8   and Panasonic’s CRT businesses into MTPD.
 9                  4.      High Costs of Entry Into the Industry
10          119.    There are significant manufacturing and technological barriers to entry into the
11   CRT industry. It would require substantial time, resources and industry knowledge to overcome
12   these barriers to entry. It is also extremely unlikely that a new producer would enter the market
13   in light of the declining demand for CRT Products.
14          120.    During the Relevant Period, the costs of the assembly components, both as a
15   whole and individually, have been generally declining, and, in some periods, declining at a
16   substantial rate.   A combination of price discussions and manipulation of the output of CRTs
17   allowed Defendants and co-conspirators to keep prices above where they would have been but
18   for the conspiracy.
19                  5.      Homogeneity of CRT Products
20          121.    CRT Products are commodity-like products which are manufactured in
21   standardized sizes.    One Defendant’s CRT Product for a particular application, such as a
22   particular size television set or computer monitor, is substitutable for another’s. Defendants and
23   co-conspirators sold CRTs primarily on the basis of price.
24          122.    It is easier to form and sustain a cartel when the product in question is
25   commodity-like because it is easier to agree on prices to charge and to monitor those prices once
26   an agreement is formed.
27          C.      Pre-Conspiracy Market
28          123.    The genesis of the CRT conspiracy was in the late 1980s as the CRT Products
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 1   business became more international and Defendants began serving customers that were also
 2   being served by other international companies. During this period, the employees of Defendants
 3   would encounter employees from their competitors when visiting their customers. A culture of
 4   cooperation developed over the years and these Defendant employees would exchange market
 5   information on production, capacity and customers.
 6           124.   In the early 1990s, representatives from Samsung SDI, Daewoo, Chunghwa, and
 7   Orion visited each other’s factories in Southeast Asia. During this period, these producers began
 8   to include discussions about price in their meetings.
 9           D.     Defendants’ and Co-Conspirators’ Illegal Agreements
10           125.   In order to control and maintain profitability during declining demand for CRT
11   Products, Defendants and their co-conspirators have engaged in a contract, combination, trust or
12   conspiracy, the effect of which has been to raise, fix, maintain and/or stabilize the prices at
13   which they sold CRTs to artificially inflated levels from at least March 1, 1995 through at least
14   November 25, 2007.
15           126.   The CRT conspiracy was effectuated through a combination of group and
16   bilateral meetings. In the formative years of the conspiracy (1995-1996), bilateral discussions
17   were the primary method of communication and took place on an informal, ad hoc basis. During
18   this period, representatives from Daewoo, LG Electronics and Samsung SDI visited other
19   manufacturers, including Philips, Chunghwa, Thai CRT, Hitachi, Toshiba and Panasonic, to
20   discuss increasing prices for CRTs in general and to specific customers. These meetings took
21   place in Taiwan, South Korea, Thailand, Japan, Malaysia, Indonesia and Singapore. Samsung
22   SDI, LG, and Chunghwa, along with Daewoo, also attended several ad hoc group meetings
23   during this period. The participants at these group meetings also discussed increasing prices for
24   CRTs.
25           127.   As more manufacturers formally entered the conspiracy, group meetings became
26   more prevalent. Beginning in 1997, group meetings occurred in a more organized, systematic
27   fashion, and a formal system of multilateral and bilateral meetings was put in place.
28           128.   The overall CRT conspiracy raised and stabilized worldwide and U.S. prices that
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 1   Defendants and their co-conspirators charged for CRTs.
 2                  1.      “Glass Meetings”
 3          129.    The group meetings among the participants in the CRT price-fixing conspiracy
 4   were referred to as “glass meetings” or “GSM.” Glass meetings were attended by employees at
 5   three general levels of the participant corporations.
 6          130.    The first level meetings were attended by high level company executives
 7   including CEOs, Presidents, and Vice Presidents, and were known as “top” meetings. Top
 8   meetings occurred less frequently, typically quarterly, and were focused on longer term
 9   agreements and forcing compliance with price fixing agreements. Because attendees at top
10   meetings had authority as well as more reliable information, these meetings resulted in
11   agreements. Attendees at top meetings were also able to resolve disputes because they were
12   decision makers who could make agreements.
13          131.    The second level meetings were attended by high level sales managers and were
14   known as “management” meetings.           These meetings occurred more frequently, typically
15   monthly, and handled implementation of the agreements made at top meetings.
16          132.    Finally, the third level meetings were known as “working level” meetings and
17   were attended by lower level sales and marketing employees. These meetings generally occurred
18   on a weekly or monthly basis and were mostly limited to the exchange of information and
19   discussing pricing since the lower level employees did not have the authority to enter into
20   agreements. These lower level employees would then transmit the competitive information up
21   the corporate reporting chain to those individuals with pricing authority. The working level
22   meetings also tended to be more regional and often took place near the conspirators’ factories.
23   In other words, the Taiwanese manufacturers’ employees met in Taiwan, the Korean
24   manufacturers’ employees met in Korea, the Chinese in China, and so on.
25          133.    The Chinese glass meetings began in 1998 and generally occurred on a monthly
26   basis following a top or management level meeting. The China meetings had the principal
27   purpose of reporting what had been decided at the most recent glass meetings to the Chinese
28   manufacturers. Participants at the Chinese meetings included the manufacturers located in
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 1   China, such as IRICO and BMCC, as well as the China-based branches of other conspirators,
 2   including but not limited to Hitachi Shenzhen, Samsung SDI Shenzhen, Samsung SDI Tianjin,
 3   and Chunghwa.
 4          134.   Glass meetings also occurred occasionally in various European countries.
 5   Attendees at these meetings included those conspirators which had subsidiaries and/or
 6   manufacturing facilities located in Europe, including Philips, LG Electronics, LP Displays,
 7   Chunghwa, Samsung, Daewoo (usually DOSA attended these meetings on behalf of Daewoo)
 8   and IRICO. Chunghwa also attended these meetings.
 9          135.   Representatives of the conspirators also attended what were known amongst
10   members of the conspiracy as “green meetings.” These were meetings held on golf courses. The
11   green meetings were generally attended by top and management level employees of the
12   conspirators. During the Relevant Period, glass meetings took place in Taiwan, South Korea,
13   Europe, China, Singapore, Japan, Indonesia, Thailand, Malaysia, and the United States.
14          136.   Participants would often exchange competitively sensitive information prior to a
15   glass meeting. This included information on inventories, production, sales and exports. For
16   some such meetings, where information could not be gathered in advance of the meeting, it was
17   brought to the meeting and shared.
18          137.   The glass meetings at all levels followed a fairly typical agenda.           First, the
19   participants exchanged competitive information such as proposed future CRT pricing, sales
20   volume, inventory levels, production capacity, exports, customer orders, price trends and
21   forecasts of sales volumes for coming months. The participants also updated the information
22   they had provided in the previous meeting. Each meeting had a rotating, designated “Chairman”
23   who would write the information on a white board. The meeting participants then used this
24   information to discuss and agree upon what price each would charge for CRTs to be sold in the
25   following month or quarter. They discussed and agreed upon target prices, price increases, so-
26   called “bottom” prices and price ranges for CRTs. They also discussed and agreed upon prices
27   of CRTs that were sold to specific customers, and agreed upon target prices to be used in
28   negotiations with large customers. Having analyzed the supply and demand, the participants
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 1   would also discuss and agree upon production cutbacks.
 2             138.   During periods of oversupply, the focus of the meeting participants turned to
 3   making controlled and coordinated price reductions. This was referred to as setting a “bottom
 4   price.”
 5             139.   The conspiracy included agreements on the prices at which certain conspirators
 6   would sell CRTs to their own corporate subsidiaries and affiliates that manufactured end
 7   products, such as televisions and computer monitors. The conspirators realized the importance
 8   of keeping the internal pricing to their affiliated OEMs at a high enough level to support the CRT
 9   pricing in the market to other OEMs. In this way, Defendants and their co-conspirators ensured
10   that all direct purchaser OEMs paid supracompetitive prices for CRTs.
11             140.   The agreements reached at the glass meetings included:
12                           a. agreements on CRT prices, including establishing target prices,
13                               “bottom” prices, price ranges and price guidelines;
14                           b. placing agreed-upon price differentials on various attributes of CRTs,
15                               such as quality or certain technical specifications;
16                           c. agreements on pricing for intra-company CRTs sales to vertically
17                               integrated customers;
18                           d. agreements as to what to tell customers about the reason for a price
19                               increase;
20                           e. agreements to coordinate with competitors that did not attend the
21                               group meetings and agreements with them to abide by the agreed-
22                               upon pricing;
23                           f. agreements to coordinate pricing with CRT manufacturers in other
24                               geographic markets such as Brazil, Europe and India;
25                           g. agreements to exchange pertinent information regarding shipments,
26                               capacity, production, prices and customers’ demands;
27                           h. agreements to coordinate uniform public statements regarding
28                               available capacity and supply;
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 1                          i. agreements to allocate both overall market shares and share of a
 2                              particular customer’s purchases;
 3                          j. agreements to allocate customers;
 4                          k. agreements regarding capacity, including agreements to restrict output
 5                              and to audit compliance with such agreements; and
 6                          l. agreements to keep their meetings secret.
 7          141.    Efforts were made to monitor each conspirator’s adherence to these agreements in
 8   a number of ways, including seeking confirmation of pricing both from customers and from
 9   employees of the conspirators themselves. When cheating did occur, it was addressed in at least
10   four ways: 1) monitoring; 2) attendees at the meetings challenging other attendees if they did not
11   live up to an agreement; 3) threats to undermine a competitor at one of its principal customers;
12   and 4) a recognition of a mutual interest in living up to the target price and living up to the
13   agreements that had been made.
14          142.    From 2005-2007 the group glass meetings became less frequent and bilateral
15   meetings again became more prevalent.
16                  2.     Bilateral Discussions
17          143.    Throughout the Relevant Period, the glass meetings were supplemented by
18   bilateral discussions between various Defendants and their co-conspirators.            The bilateral
19   discussions were more informal than the group meetings and occurred on a frequent, ad hoc
20   basis, often between the group meetings. These discussions, usually between sales and marketing
21   employees, took the form of in-person meetings, telephone contacts and emails.
22          144.    During the Relevant Period, in-person bilateral meetings took place in Malaysia,
23   Indonesia, Taiwan, China, United Kingdom, Singapore, South Korea, Japan, Thailand, Brazil,
24   Mexico, and the United States.
25          145.    The purpose of the bilateral discussions was to exchange information about past
26   and future pricing, confirm production levels, share sales order information, confirm pricing
27   rumors, and coordinate pricing with manufacturers in other geographic locations, including
28   Brazil, Mexico, Europe, and the United States.
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 1          146.    In order to ensure the efficacy of their global conspiracy, Defendants and their co-
 2   conspirators also used bilateral meetings to coordinate pricing with CRT manufacturers in Brazil,
 3   Mexico, and the United States, such as Philips Brazil, Samsung SDI Brazil and Samsung SDI
 4   Mexico. These Brazilian and Mexican manufacturers were particularly important because they
 5   served the North American market for CRT Products. As further alleged herein, North America
 6   was the largest market for CRT televisions and computer monitors during the Relevant Period.
 7   Because these manufacturers are all wholly-owned and controlled subsidiaries of Philips and
 8   Samsung SDI, they adhered to the unlawful price-fixing agreements. In this way, Defendants
 9   and their co-conspirators ensured that prices of all CRTs sold in the United States were fixed,
10   raised, maintained and/or stabilized at supracompetitive levels.
11          147.    Defendants and co-conspirators also used bilateral discussions with each other
12   during price negotiations with customers to avoid being persuaded by customers to cut prices.
13   The information gained in these communications was then shared with supervisors and taken
14   into account in determining the price to be offered.
15          148.    Bilateral discussions were also used to coordinate prices with CRT manufacturers
16   that did not ordinarily attend the group meetings, such as Defendant Mitsubishi and co-
17   conspirators Hitachi, Toshiba, Panasonic and Samtel. It was often the case that in the few days
18   following a top or management meeting, the attendees at these group meetings would meet
19   bilaterally with the other conspirators for the purpose of communicating whatever CRT pricing
20   and/or output agreements had been reached during the meeting. For example, Samsung SDI had
21   a relationship with Hitachi and was responsible for communicating CRT pricing agreements to
22   Hitachi. LG Electronics had a relationship with Toshiba and was responsible for communicating
23   CRT pricing agreements to Toshiba. Similarly, Samsung SDI had regular communications with
24   Defendant Mitsubishi. And Thai CRT had a relationship with Samtel and was responsible for
25   communicating CRT pricing agreements to Samtel. Hitachi, Toshiba and Samtel implemented
26   the agreed-upon pricing as conveyed by Samsung SDI, LG Electronics and Thai CRT.                   Other
27   times, Hitachi and Toshiba attended the glass meetings. In this way, Hitachi, Toshiba and
28   Samtel participated in the conspiracy to fix prices of CRTs.
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 1                    3.     Defendants’ and Co-Conspirators’ Participation in Group and
 2                           Bilateral Discussions
 3                           a. Thomson’s Admitted Participation in the CRT Conspiracy
 4             149.   Thomson has admitted that it participated in the CRT price-fixing conspiracy. In
 5   its 2011 Annual Report (released in late March 2012), Thomson told its shareholders and the
 6   public:
 7                On January 9, 2008, Thomson/Technicolor received a request under art 18 (2) of
                  Council Regulation n1/2003 from the European Commission (the “EC”) also
 8                relating to the CRT industry. Thomson/Technicolor received three further
                  requests for information from the EC on January 16, 2009, January 19, 2009, and
 9
                  September 15, 2009 respectively.               On November 25, 2009,
10                Thomson/Technicolor received a Statement of Objections (“SO”) from the
                  European Commission. On March 3, 2010, Thomson/Technicolor filed its
11                written response to the “SO.” On May 26 and 27, 2010, Thomson/Technicolor
                  attended an Oral Hearing together with the other parties and the European
12                Commission. Thomson/Technicolor stated that it played a minor role in the
                  alleged anticompetitive conduct.
13

14   Technicolor Annual Report 2011, at 226 (emphasis added).             While Plaintiffs dispute that

15   Thomson’s role in the CRT price-fixing conspiracy was minor and believes the evidence adduced

16   to date demonstrates it was substantial, what cannot be contested is that Thomson by its own

17   admission was one of the conspirators.

18             150.    In December 2012, following an investigation of more than four years, the EC

19   released its finding on the CRT price-fixing conspiracy.        It found that seven companies,

20   including Thomson, participated in cartels lasting “almost ten years, between 1996 and 2006,” to

21   fix the prices of CRTs. The EC concluded that “these companies fixed prices, shared markets,

22   allocated customers between themselves and restricted their output.” The EC official responsible

23   for competition policy described the CRT cartels as “textbook cartels [that] feature all the worst

24   kinds of anticompetitive behavior.” Fines totaling €1,470,515,000 were assessed against the

25   members of the CRT cartels, including a fine of €38,631,000 against Thomson, an amount which

26   was reduced due to Thomson’s cooperation with the EC investigation. The EC investigation

27   found that the CRT cartels “operated worldwide” and were “among the most organized cartels

28   that the Commission has investigated.”

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 1          151.   After the EC announced its finding that Thomson participated in the CRT price-
 2   fixing conspiracy and after Thomson paid the fine imposed by the EC, Thomson again
 3   acknowledged its participation in the conspiracy. In its 2012 Annual Report (released in late
 4   March 2013), Thomson informed its shareholders and the public that “[f]ollowing the European
 5   Commission decision, purchasers may bring individual claims against the Company seeking
 6   compensation for alleged loss suffered as a result of the anti-competitive conduct.” Technicolor
 7   Annual Report 2012, at 216.
 8          152.   Between at least 1995 and 2005, Thomson participated in and/or was a party to
 9   over 15 bilateral meetings and over 25 group meetings, including “green meetings” in the United
10   States, with the Defendants and co-conspirators in which unlawful agreements as to, inter alia,
11   price, output restrictions, and/or customer and market allocation of CRTs occurred. These
12   meetings attended by Thomson occurred in the United States, Europe, Japan, and China, and
13   were also attended by representatives from Samsung SDI, MTPD, LPD, Philips, Toshiba, and
14   Chunghwa, among other co-conspirators.          The purpose of these meetings, and other
15   communications, between Thomson and the co-conspirators was to raise and stabilize the prices
16   and set supply levels of CRTs sold by Thomson and its competitors in North America, including
17   the United States. Documents reflect that these meetings among competitors did not occur in the
18   context of a customer-supplier relationship. Thomson also discussed with competitors CRT
19   prices, production, revenues, volumes, demand, inventories, estimated sales, plant shutdowns,
20   customer allocation, and new product development, including for North American CRTs. A
21   substantial number of these meetings were attended by high level sales, operations, and sourcing
22   managers from Thomson Consumer and/or Thomson SA. In addition to in-person meetings,
23   Thomson also communicated with its competitors over the telephone and by email.                     On
24   information and belief, Plaintiffs anticipate additional evidence of Thomson’s conspiratorial
25   meetings and/or communications with the Defendants and co-conspirators will be revealed
26   through discovery of Thomson. As examples of Thomson’s active participation in a conspiracy
27   to fix CRT prices during the Relevant Period:
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20   Thomson SA participated in the conspiracy in its own right and through its wholly owned
21   subsidiary, Thomson Consumer, through at least 2005, and participated thereafter through
22   Videocon, in which it retained a 13.1% ownership stake after selling its CRT business to
23   Videocon in 2005. Thomson SA maintained at least a 10% ownership interest in Videocon
24   throughout the conspiracy period.        Thomson SA never effectively withdrew from this
25   conspiracy.
26          153.   Thomson Consumer directly participated in the conspiracy in the United States,
27   which was Thomson’s largest market for CRTs. Between at least 1995 and 2005, Thomson
28   Consumer knowingly participated in and/or was a party to bilateral and group meetings,
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 1   including “green meetings” in the United States, in which unlawful agreements as to, inter alia,
 2   price, output restrictions, and/or customer and market allocation of U.S.-market CRTs occurred.
 3   As examples of Thomson Consumer’s active participation in a conspiracy to fix CRT prices
 4   during the Relevant Period:
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 3          155. Thomson Consumer knowingly participated in the conspiracy both in its own right
 4   and through its parent company Thomson SA, through at least 2005, and participated thereafter
 5   through Videocon, in which Thomson SA maintained at least a 10% ownership interest
 6   throughout the conspiracy period. Thomson Consumer never effectively withdrew from this
 7   conspiracy.
 8                         b.     Videocon’s Participation in the CRT Conspiracy
 9          156.   Upon information and belief, between 2005 and 2007, Videocon participated in
10   several glass meetings and multiple bilateral meetings with its competitors, continuing the
11   practice established by Thomson.     These meetings were attended by high level sales and
12   marketing managers and executives from Videocon, including one Thomson employee who sat
13   on Videocon’s Board of Directors, and by employees who had previously attended meetings on
14   behalf of Thomson.     At these meetings, Videocon discussed such things as CRT prices,
15   production, revenues, volumes, demand, inventories, estimated sales, plant shutdowns, customer
16   allocation, and new product development, and agreed on prices and supply levels for CRT
17   Products. These meetings included discussions in which Videocon shared information with
18   competitors regarding the U.S. market for CRTs. Documents reflect that these meetings among
19   competitors did not occur in the context of a customer-supplier relationship.
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25                         Videocon never effectively withdrew from this conspiracy.
26                         c.     TDA’s Participation in the CRT Conspiracy
27          157.   TDA was responsible for the sales and marketing of CRT Products in North
28   America on behalf of its parent company, Videocon. Upon information and belief, Videocon
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 1   dominated and/or controlled the finances, policies and/or affairs of TDA and directed its pricing
 2   of CRT Products sold to the North America market.
 3

 4                                                                             Upon information and
 5   belief, between 2005 and 2007, TDA (originally known as Thomson Displays Americas), and its
 6   wholly owned Mexican subsidiary and co-conspirator Technologies Displays Mexicana,
 7   knowingly participated in conspiracy meetings and/or were parties to the agreements entered at
 8   them, individually and through their parent company Videocon. The prices established by TDA
 9   were, thus, the product of conspiratorial communications between Videocon and TDA and their
10   co-conspirators.
11          158.    To the extent Thomson Consumer, TDA, and its Mexican subsidiary and co-
12   conspirator Technologies Displays Mexicana, distributed CRTs to direct purchasers, they played
13   a significant role in the conspiracy because Defendants wished to ensure that the prices for such
14   products paid by direct purchasers would not undercut the pricing agreements reached at these
15   various meetings. Thus, Thomson Consumer, TDA, and Technologies Displays Mexicana were
16   at those meetings and/or were parties to the agreements and were active, knowing participants in
17   this conspiracy.
18                         d.      Mitsubishi’s Participation in the CRT Conspiracy
19          159.    Between at least 1995 and 2005, Defendant Mitsubishi participated in multiple
20   bilateral and group meetings with its competitors, including but not limited to, co-conspirators
21   Samsung SDI, Toshiba, Chunghwa, and Hitachi. These meetings were attended by high level
22   sales managers and other senior executives from Mitsubishi. At these meetings, Mitsubishi
23   discussed such things as CRT prices, production, future production, revenues, volumes, demand,
24   inventories, estimated sales, plant shutdowns, customer allocation, and new product
25   development, and agreed on prices, customer allocations, and supply levels for CRTs.                  In
26   addition to in-person meetings, Mitsubishi also communicated with its competitors by telephone
27   and email. Examples of Mitsubishi’s active participation in the conspiracy to fix CRT prices
28   during the Relevant Period include, but are not limited to:
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27   All of the above acts, as well as others, were in furtherance of the conspiracy.
28          160.
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 7                 e.       Co-conspirators’ Participation in the CRT Conspiracy
 8          161.    Between at least 1996 and 2001, co-conspirator Hitachi, through Hitachi, Ltd.,
 9   Hitachi Displays, Hitachi Shenzhen and Hitachi Asia, participated in several glass meetings.
10   These meetings were attended by high level sales managers from Hitachi. Hitachi also engaged
11   in multiple bilateral discussions with other participants, particularly with Samsung. Through
12   these discussions, Hitachi agreed on prices and supply levels for CRTs. Hitachi never effectively
13   withdrew from this conspiracy.
14          162.    Co-conspirators Hitachi America and HEDUS were represented at those meetings
15   and were a party to the agreements entered at them. To the extent Hitachi America and HEDUS
16   sold and/or distributed CRT Products to direct purchasers, they played a significant role in the
17   conspiracy because Defendants and their co-conspirators wished to ensure that the prices for
18   CRT Products paid by direct purchasers would not undercut the CRT pricing agreements reached
19   at the glass meetings. Thus, Hitachi America and HEDUS were active, knowing participants in
20   the alleged conspiracy.
21          163.    Between at least 1998 and 2007, co-conspirator IRICO, through IGC, IGE and
22   IDDC, participated in multiple glass meetings. These meetings were attended by the highest
23   ranking executives from IRICO. IRICO also engaged in multiple bilateral discussions with other
24   participants, particularly with other Chinese manufacturers. Through these discussions, IRICO
25   agreed on prices and supply levels for CRTs. None of IRICO’s conspiratorial conduct in
26   connection with CRTs was mandated by the Chinese government. IRICO was acting to further
27   its own independent private interests in participating in the alleged conspiracy.
28          164.    Between at least 1995 and 2001, co-conspirator LG Electronics, through LGEI,
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 1   participated in at least 100 glass meetings at all levels. After 2001, LG Electronics participated
 2   in the CRT conspiracy through its joint venture with Philips, LGPD (n/k/a LP Displays). A
 3   substantial number of these meetings were attended by the highest ranking executives from LG
 4   Electronics. LG Electronics also engaged in bilateral discussions with other participants on a
 5   regular basis. Through these discussions, LG agreed on prices and supply levels for CRTs. LG
 6   Electronics never effectively withdrew from this conspiracy.
 7          165.    Co-conspirator LGEUSA was represented at those meetings and was a party to
 8   the agreements entered at them. To the extent LGEUSA sold and/or distributed CRT Products, it
 9   played a significant role in the conspiracy because Defendants and their co-conspirators wished
10   to ensure that the prices for CRT Products paid by direct purchasers would not undercut the CRT
11   pricing agreements reached at the glass meetings. Thus, LGEUSA was an active, knowing
12   participant in the alleged conspiracy.
13          166.    Between at least 2001 and 2006, co-conspirator LP Displays (f/k/a LGPD)
14   participated in at least 100 glass meetings at all levels. A substantial number of these meetings
15   were attended by the highest ranking executives from LP Displays. Certain of these high level
16   executives from LP Displays had previously attended meetings on behalf of LG Electronics and
17   Philips. LP Displays also engaged in bilateral discussions with other participants. Through these
18   discussions, LP Displays agreed on prices and supply levels for CRTs.
19          167.    Between at least 1996 and 2003, co-conspirator Panasonic, through Panasonic
20   Corporation and Matsushita Malaysia, participated in several glass meetings.             After 2003,
21   Panasonic participated in the CRT conspiracy through MTPD, its joint venture with Toshiba.
22   These meetings were attended by high level sales managers from Panasonic and MTPD.
23   Panasonic also engaged in multiple bilateral discussions with other participants. Through these
24   discussions, Panasonic agreed on prices and supply levels for CRTs. Panasonic never effectively
25   withdrew from this conspiracy.
26          168.    PCNA was represented at those meetings and was a party to the agreements
27   entered at them. To the extent PCNA sold and/or distributed CRT Products to direct purchasers,
28   it played a significant role in the conspiracy because Defendants and their co-conspirators
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 1   wished to ensure that the prices for CRT Products paid by direct purchasers would not undercut
 2   the CRT pricing agreements reached at the glass meetings. Thus, PCNA was an active, knowing
 3   participant in the alleged conspiracy.
 4          169.    Between at least 2003 and 2006, co-conspirator MTPD participated in multiple
 5   glass meetings and in fact led many of these meetings during the latter years of the conspiracy.
 6   These meetings were attended by high level sales managers from MTPD. MTPD also engaged
 7   in bilateral discussions with other participants. Through these discussions, MTPD agreed on
 8   prices and supply levels for CRTs.
 9          170.    Between at least 1998 and 2007, co-conspirator BMCC participated in multiple
10   glass meetings. These meetings were attended by high level sales managers from BMCC.
11   BMCC also engaged in multiple bilateral discussions with other participants, particularly the
12   other Chinese CRT manufacturers. Through these discussions, BMCC agreed on prices and
13   supply levels for CRTs. None of BMCC’s conspiratorial conduct in connection with CRTs was
14   mandated by the Chinese government. BMCC was acting to further its own independent private
15   interests in participating in the alleged conspiracy.
16          171.    Between at least 1996 and 2001, co-conspirator Philips, through Royal Philips
17   and Philips Taiwan, participated in at least 100 glass meetings at all levels. After 2001, Philips
18   participated in the CRT conspiracy through its joint venture with LG Electronics, LGPD (n/k/a
19   LP Displays). A substantial number of these meetings were attended by high level executives
20   from Philips. Philips also engaged in numerous bilateral discussions with other participants.
21   Through these discussions, Philips agreed on prices and supply levels for CRTs. Philips never
22   effectively withdrew from this conspiracy.
23          172.    Co-conspirators Philips America and Philips Brazil were represented at those
24   meetings and were a party to the agreements entered at them. To the extent Philips America and
25   Philips Brazil sold and/or distributed CRT Products to direct purchasers, they played a
26   significant role in the conspiracy because Defendants and their co-conspirators wished to ensure
27   that the prices for CRT Products paid by direct purchasers would not undercut the CRT pricing
28   agreements reached at the glass meetings. Thus, Philips America and Philips Brazil were active,
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 1   knowing participants in the alleged conspiracy.
 2          173.   Between at least 1995 and 2007, co-conspirator Samsung SDI, through Samsung
 3   SDI, Samsung SDI Malaysia, Samsung SDI Shenzhen and Samsung SDI Tianjin, participated in
 4   at least 200 glass meetings at all levels. A substantial number of these meetings were attended
 5   by the highest ranking executives from Samsung SDI. Samsung SDI also engaged in bilateral
 6   discussions with each of the other participants on a regular basis. Through these discussions,
 7   Samsung SDI agreed on prices and supply levels for CRTs.
 8          174.   Co-conspirators Samsung SDI America, Samsung SDI Brazil and Samsung SDI
 9   Mexico were represented at those meetings and were a party to the agreements entered at them.
10   Thus, Samsung SDI America, Samsung SDI Brazil and Samsung SDI Mexico were active,
11   knowing participants in the alleged conspiracy.
12          175.   Between at least 1998 and 2006, co-conspirator Samtel participated in multiple
13   bilateral discussions with other participants.    These meetings were attended by high level
14   executives from Samtel. Through these discussions, Samtel agreed on prices and supply levels
15   for CRTs. Samtel never effectively withdrew from this conspiracy.
16          176.   Between at least 1997 and 2006, co-conspirator Thai CRT participated in multiple
17   glass meetings. These meetings were attended by the highest ranking executives from Thai
18   CRT. Thai CRT also engaged in multiple bilateral discussions with other participants. Through
19   these discussions, Thai CRT agreed on prices and supply levels for CRTs. Thai CRT never
20   effectively withdrew from this conspiracy.
21          177.   Between at least 1995 and 2003, co-conspirator Toshiba, through TC, TDDT and
22   TEDI, participated in several glass meetings. After 2003, Toshiba participated in the CRT
23   conspiracy through MTPD, its joint venture with Panasonic. These meetings were attended by
24   high level sales managers from Toshiba and MTPD. Toshiba also engaged in multiple bilateral
25   discussions with other participants. Through these discussions, Toshiba agreed on prices and
26   supply levels for CRTs. Toshiba never effectively withdrew from this conspiracy.
27          178.   Co-conspirators Toshiba America, TACP, TAEC and TAIS were represented at
28   those meetings and were a party to the agreements entered at them. To the extent Toshiba
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 1   America, TACP, TAEC and TAIS sold and/or distributed CRT Products to direct purchasers,
 2   they played a significant role in the conspiracy because Defendants and their co-conspirators
 3   wished to ensure that the prices for CRT Products paid by direct purchasers would not undercut
 4   the CRT pricing agreements reached at the glass meetings. Thus, Toshiba America, TACP,
 5   TAEC and TAIS were active, knowing participants in the alleged conspiracy.
 6          179.    Between at least 1995 and 2006, co-conspirator Chunghwa, through Chunghwa
 7   PT, Chunghwa Malaysia, and representatives from their factories in Fuzhuo (China) and
 8   Scotland, participated in at least 100 glass meetings at all levels. A substantial number of these
 9   meetings were attended by the highest ranking executives from Chunghwa, including the former
10   Chairman and CEO of Chunghwa PT, C.Y. Lin. Chunghwa also engaged in bilateral discussions
11   with other participants on a regular basis. Through these discussions, Chunghwa agreed on
12   prices and supply levels for CRTs.
13          180.    Between at least 1995 and 2004, co-conspirator Daewoo, through Daewoo
14   Electronics, Orion and DOSA, participated in at least 100 glass meetings at all levels. A
15   substantial number of these meetings were attended by the highest ranking executives from
16   Daewoo. Daewoo also engaged in bilateral discussions with other participants. Through these
17   discussions, Daewoo agreed on prices and supply levels for CRTs.             Bilateral discussions
18   involving Daewoo continued until Orion, its wholly-owned CRT subsidiary, filed for bankruptcy
19   in 2004. Daewoo never effectively withdrew from this conspiracy.
20          181.    When Plaintiffs refer to a corporate family or companies by a single name in their
21   allegations of participation in the conspiracy, Plaintiffs are alleging that one or more employees
22   or agents of entities within the corporate family engaged in conspiratorial meetings on behalf of
23   every company in that family. In fact, the individual participants in the conspiratorial meetings
24   and discussions did not always know the corporate affiliation of their counterparts, nor did they
25   distinguish between the entities within a corporate family. The individual participants entered
26   into agreements on behalf of, and reported these meetings and discussions to, their respective
27   corporate families. As a result, the entire corporate family was represented in meetings and
28   discussions by their agents and were parties to the agreements reached in them.
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 1          E.         The CRT Market During the Conspiracy
 2          182.       Until the last few years of the CRT conspiracy, CRTs were the dominant
 3   technology used in displays, including televisions and computer monitors. During the Relevant
 4   Period, this translated into the sale of millions of CRT Products, generating billions of dollars in
 5   annual profits.
 6          183.       The following data was reported by Stanford Resources, Inc., a market research
 7   firm focused on the global electronic display industry:
 8        Year               Units Sold             Revenue                 Average Selling
                             (millions)             (billion US dollars)    Price Per Unit
 9        1998               90.5                   $18.9                   $208
10        1999               106.3                  $19.2                   $181
          2000               119.0                  $28.0 1                 $235
11
            184.       During the Relevant Period, North America was the largest market for CRT TVs
12
     and computer monitors. According to a report published by Fuji Chimera Research, the 1995
13
     worldwide market for CRT monitors was 57.8 million units, 28 million of which (48.5 percent)
14
     were consumed in North America. By 2002, North America still consumed around 35 percent of
15
     the world’s CRT monitor supply. See, The Future of Liquid Crystal and Related Display
16
     Materials, Fuji Chimera Research, 1997, p.12.
17
            185.       Defendants’ and co-conspirators’ collusion is evidenced by unusual price
18
     movements in the CRT Product market during the Relevant Period. In the 1990s, industry
19
     analysts repeatedly predicted declines in consumer prices for CRT Products that did not fully
20
     materialize. For example, in 1992, an analyst for Market Intelligent Research Corporation
21
     predicted that “[e]conomies of scale, in conjunction with technological improvements and
22
     advances in manufacturing techniques, will produce a drop in the price of the average electronic
23
     display to about $50 in 1997.”        Despite such predictions, and the existence of economic
24
     conditions warranting a drop in prices, CRT Product prices nonetheless remained stable.
25
            186.       In 1996, another industry source noted that “the price of the 14” tube is at a
26
     sustainable USD50 and has been for some years . . . .”
27

28   1
            Estimated market value of CRT units sold.
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 1          187.    In early 1999, despite declining production costs and the rapid entry of flat panel
 2   display products, the price of large sized color CRTs actually rose. The price increase was
 3   allegedly based on increasing global demand. In fact, this price increase was a result of the
 4   collusive conduct as herein alleged.
 5          188.    After experiencing oversupply of 17” CRTs in the second half of 1999, the
 6   average selling price of CRTs rose again in early 2000. A March 13, 2000 article in Infotech
 7   Weekly quoted an industry analyst as saying that this price increase was “unlike most other PC-
 8   related products.”
 9          189.    A BNET Business Network news article from August 1998 reported that “key
10   components (cathode ray tubes) in computer monitors have risen in price. ‘Although several
11   manufacturers raised their CRT prices in the beginning of August, additional CRT price
12   increases are expected for the beginning of October . . . . While computer monitor price increases
13   may be a necessary course of action, we [CyberVision, a computer monitor manufacturer] do not
14   foresee a drop in demand if we have to raise our prices relative to CRT price increases.’”
15          190.    A 2004 article from Techtree.com reports that various computer monitor
16   manufacturers, including LG Electronics, Philips and Samsung, were raising the price of their
17   monitors in response to increases in CRT prices caused by an alleged shortage of glass shells
18   used to manufacture the tubes. Philips is quoted as saying that, “It is expected that by the end of
19   September this year [2004] there will be [a] 20% hike in the price of our CRT monitors.”
20          191.    Defendants and co-conspirators also conspired to limit production of CRTs by
21   shutting down production lines for days at a time, and closing or consolidating their
22   manufacturing facilities.
23          192.    For example, CRT factory utilization percentage fell from 90% in the third
24   quarter of 2000 to 62% in the first quarter of 2001. This is the most dramatic example of a drop
25   in factory utilization. There were sudden drops throughout the Relevant Period but to a lesser
26   degree. Plaintiffs are informed and believe that these sudden, coordinated drops in factory
27   utilization by Defendants and co-conspirators were the result of agreements to decrease output in
28   order to stabilize the prices of CRTs.
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 1          193.    During the latter part of the Relevant Period, while demand in the United States
 2   for CRT Products declined, the conspiracy was effective in moderating the normal downward
 3   pressures on prices for CRT Products caused by the entry and popularity of the new generation
 4   LCD panels and plasma display products.         As Finsen Yu, President of Skyworth Macao
 5   Commercial Offshore Co., Ltd., a television maker, was quoted in January of 2007: “[t]he CRT
 6   technology is very mature; prices and technology have become stable.”
 7          194.    During the Relevant Period, there were not only periods of unnatural and
 8   sustained price stability, but there were also increases in prices of CRTs and CRT Products.
 9   These price increases were despite the declining demand due to the approaching obsolescence of
10   CRT Products caused by the emergence of a new, potentially superior and clearly more popular,
11   substitutable technology.
12          195.    These price increases and price stability in the market for CRT Products during
13   the Relevant Period are inconsistent with a competitive market for a product facing rapidly
14   decreasing demand caused by a new, substitutable technology.
15           F.     International Government Antitrust Investigations of the CRT Conspiracy
16          196.    Defendants’ and co-conspirators’ conspiracy to fix, raise, maintain and stabilize
17   the prices of, and restrict output for, CRTs sold in the United States during the Relevant Period,
18   has been and the subject of a multinational investigation commenced by the Antitrust Division of
19   the United States DOJ.
20          197.    Separately, the European Commission and Japan and South Korea’s Fair Trade
21   Commissions also opened investigations into illegal price-fixing of CRTs that were being sold in
22   Europe and Asia.
23          198.    In its 2008 Annual Report, co-conspirator Toshiba reports that “[t]he Group is
24   also being investigated by the [European] Commission and/or the U.S. Department of Justice for
25   potential violations of competition laws with respect to semiconductors, LCD products, cathode
26   ray tubes (CRT) and heavy electrical equipment.”
27          199.    On May 6, 2008, the Hungarian Competition Authority (“HCA”) announced its
28   own investigation into the CRT cartel. The HCA described the cartel as follows:
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                            The Hungarian Competition Authority (Gazdasági Versenyhivatal –
 1
                            GVH) initiated a competition supervision proceeding against the
 2                          following undertakings: Samsung SDI Co., Ltd., Samsung SDI
                            Germany GmbH, Samsung SDI Magyarország Zrt., Thomson TDP
 3                          sp. Z.o.o., LG Philips Displays Czech Republic s.r.o.., LP Displays,
                            Chunghwa Pictures Tubes (UK) Ltd, Chunghwa Pictures Tubes Ltd,
 4                          Daewoo Orion S.A., Daewoo Electronics Global HQ, Daewoo
                            Electronics European HQ, MT Picture Display Germany GmbH,
 5
                            Matsushita Global HQ, Matsushita European HQ.
 6
                            Based on the data available the undertakings mentioned above
 7                          concerted their practice regarding the manufacturing and distribution
                            of cathode-ray tubes (including coloured pictures tubes and coloured
 8                          screen tubes) on the European market between 1995 and 2007. The
                            anti-competitive behaviour may have concerned the exchange of
 9
                            sensitive market information (about prices, volumes sold, demand
10                          and the extent to which capacities were exploited), price-fixing, the
                            allocation of market shares, consumers and volumes to be sold, the
11                          limitation of output and coordination concerning the production. The
                            undertakings evolved a structural system and functional mechanism
12                          of cooperation.
13                          According to the available evidences it is presumable that the
14                          coordination of European and Asian undertakings regarding to the
                            European market also included Hungary from 1995 to 2007. The
15                          coordination concerning the Hungarian market allegedly formed part
                            of the European coordination. Samsung SDI Magyarország. was
16                          called into the proceeding since it manufactured and sold cathode-
                            ray tubes in Hungary in the examined period, and it allegedly
17                          participated in the coordination between its parent companies.
18
            200.    On February 10, 2009, the DOJ issued a press release announcing that a federal
19
     grand jury in San Francisco had that same day returned a two-count indictment against the
20
     former Chairman and Chief Executive Officer of Chunghwa, Cheng Yuan Lin a/k/a C.Y. Lin, for
21
     his participation in global conspiracies to fix the prices of two types of CRTs used in computer
22
     monitors and televisions. The press release notes that “[t]his is the first charge as a result of the
23
     Antitrust Division’s ongoing investigation into the cathode ray tubes industry.” The press
24
     release further notes that Lin had previously been indicted for his participation in a conspiracy to
25
     fix the prices of TFT-LCDs. Mr. Lin’s indictment states that the combination and conspiracy to
26
     fix the prices of CRTs was carried out, in part, in California.
27
            201.    On August 19, 2009, the DOJ issued a press release announcing that a federal
28

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 1   grand jury in San Francisco had the previous night returned a one-count indictment against Wu
 2   Jen Cheng a/k/a Tony Cheng for his participation in a global conspiracy to fix the prices of
 3   CDTs, the type of CRT used in computer monitors. Tony Cheng formerly was an assistant Vice-
 4   President of Sales and Marketing at Chunghwa. The press release notes that Cheng previously
 5   had been indicted for his participation in a conspiracy to fix the prices of TFT-LCDs. Mr.
 6   Cheng’s indictment states that the combination and conspiracy to fix the prices of CRTs was
 7   carried out, in part, in California.
 8           202.    On March 30, 2010, the DOJ issued a press release announcing that a federal
 9   grand jury in San Francisco had that same day returned a one-count indictment against Chung
10   Cheng Yeh a/k/a Alex Yeh for his participation in a global conspiracy to fix the prices of CDTs,
11   the type of CRT used in computer monitors. The press release identifies Yeh as a “former
12   director of sales” at “a large-Taiwan based color display tube (CDT) manufacturer.”                   The
13   indictment states that the combination and conspiracy to fix the prices of CRTs was carried out,
14   in part, in California.
15           203.    On November 9, 2010, the DOJ issued a press release announcing that a federal
16   grand jury in San Francisco had that same day returned a one-count indictment against Seung-
17   Kyu Lee a/k/a Simon Lee, Yeong-Ug Yang a/k/a Albert Yang, and Jae-Sik Kim a/k/a J.S. Kim
18   for their participation in a global conspiracy to fix the prices of CDTs, the type of CRT used in
19   computer monitors. The press release identifies Lee, Yang, and Kim as “former executives from
20   two color display tube (CDT) manufacturing companies.”             The indictment states that the
21   combination and conspiracy to fix the prices of CRTs was carried out, in part, in California.
22           204.    On March 18, 2011, the DOJ issued a press release announcing that it had reached
23   an agreement with co-conspirator Samsung SDI in which it would plead guilty and pay a $32
24   million fine for its role in a conspiracy to fix prices of CDTs.
25           205.    Samsung SDI admitted that from at least as early as January 1997 until at least as
26   late as March 2006, it participated in a conspiracy among major CDT producers to fix prices,
27   reduce output, and allocate market shares of CDTs sold in the United States and elsewhere.
28   Samsung SDI admitted that in furtherance of the conspiracy it, through its officers and
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 1   employees, engaged in discussions and attended meetings with representatives of other major
 2   CDT producers. During these discussions and meetings, agreements were reached to fix prices,
 3   reduce output, and allocate market shares of CDTs to be sold in the United States and elsewhere.
 4   Samsung SDI further admitted that acts in furtherance of the conspiracy were carried in
 5   California.
 6          206.    The plea agreement of Samsung SDI requires that it cooperate with the DOJ’s
 7   ongoing investigation of federal antitrust and related criminal laws involving the manufacture or
 8   sale of CDTs and CPTs.
 9          207.    As described above, in December 2012 the European Commission announced that
10   it fined seven companies for participating in cartels to fix the prices of CRTs lasting almost ten
11   years: Thomson, Samsung SDI, Philips, LG Electronics, Toshiba, Panasonic, and MTPD. The
12   EC concluded that “the cartelists carried out the most harmful anti-competitive practices
13   including price fixing, market sharing, customer allocation, capacity and output coordination and
14   exchanges of commercial sensitive information.”
15          G.      Effects of the CRT Conspiracy
16                  1.      Examples of Reductions in Manufacturing Capacity
17          208.    During the Relevant Period, the conspirators conspired to limit production of
18   CRTs by shutting down production lines for days at a time and closing or consolidating
19   manufacturing facilities.
20          209.    In December of 2004, MTPD closed its American subsidiary’s operations in
21   Horseheads, New York, citing price and market erosion. Panasonic announced that the closing
22   was part of the company’s “global restructuring initiatives in the CRT business.” The company
23   further stated that in the future, “CRTs for the North American market will be supplied by other
24   manufacturing locations in order to establish an optimum CRT manufacturing structure.”
25          210.    In July of 2005, LGPD ceased CRT production at its Durham, England facility,
26   citing a shift in demand from Europe to Asia.
27          211.    In December of 2005, MTPD announced that it would close its American
28   subsidiary’s operations in Ohio, as well as operations in Germany, by early 2006. Like LG
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 1   Philips, the company explained that it was shifting its CRT operations to Asian and Chinese
 2   markets.
 3          212.    In late 2005, Samsung SDI followed the lead of other manufacturers, closing its
 4   CRT factory in Germany.
 5          213.    In July of 2006, Orion shut down a CRT manufacturing plant in Princeton,
 6   Indiana. The same month, Panasonic announced it was shutting down its CRT factory in
 7   Malaysia and liquidating its joint venture with Toshiba.
 8                  2.     Examples of Collusive Pricing for CRTs
 9          214.    Defendants’ collusion is evidenced by unusual price movements in the CRT
10   market. In the 1990s, industry analysts repeatedly predicted declines in consumer prices for
11   CRTs that did not fully materialize. For example, in 1992, an analyst for Market Intelligent
12   Research Corporation predicted that “[e]conomies of scale, in conjunction with technological
13   improvements and advances in manufacturing techniques, will produce a drop in the price of the
14   average electronic display to about $50 in 1997.” Despite such predictions, and the existence of
15   economic conditions warranting a drop in prices, CRT prices nonetheless remained stable.
16          215.    In 1996, another industry source noted that “the price of the 14” tube is at a
17   sustainable USD50 and has been for some years . . . .”
18          216.    In reality, prices for CRTs never approached $50 in 1997, and were consistently
19   more than double this price.
20          217.    Despite the ever-increasing popularity of, and intensifying competition from, flat
21   panel monitors, prices for CRT monitors were “stuck stubbornly at high price levels” throughout
22   1995 according to a CNET News.com article. This price stabilization was purportedly due
23   exclusively to a shortage of critical components such as glass. This was a pretext used to conceal
24   the conspiracy.
25          218.    Prices for CRT monitors did fall sharply as a result of the Asian economic crisis
26   of 1998, which severely devalued Asian currencies. This prompted the keynote speaker at Asia
27   Display 1998, an annual conference for the display industry, to state:
28
                    We believe that now is the time to revise our strategic plan in order to
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 1                    survive in his tough environment and also to prepare for the coming years.
 2                    This means that we have to deviate from the traditional approach of the
 3                    simple scale up of production volume.
 4
               219.   In early 1999, despite declining production costs and the rapid entry of flat panel
 5
     display products, the price of large-sized color CRTs actually rose. The price increase was
 6
     allegedly based on increasing global demand for the products. In fact, this price rise was the
 7
     result of collusive conduct amongst Defendants.
 8
               220.   After experiencing an oversupply of 17” CRTs in the second half of 1999, the
 9
     average selling price of CRTs rose again in early 2000. A March 13, 2000 article quoted an
10
     industry analyst as saying that this price increase was “unlike most other PC-related products.”
11
               221.   On June 1, 2004, LG Electronics raised the prices of its 15” and 17” CRT
12
     monitors in India. This price hike was falsely attributed exclusively to a shortage of glass
13
     needed to manufacture CRTs.
14
               222.   Over the course of the Relevant Period, the price of CRTs remained stable, and in
15
     some instances went up in an unexplained manner, despite the natural trend in most technology
16
     products to go down over time. CRT technology was mature, and the costs of production were
17
     relatively low compared to other emerging technologies. As Finsen Yu, President of Skyworth
18
     Macao Commercial Off Shore Co., Ltd, a television maker, was quoted as saying in January of
19
     2007, “[t]he CRT technology is very mature; prices and technology have become stable.”
20
               223.   CRT prices resisted downward price pressures and remained stable over a period
21
     of many years. Even in periods of decreasing prices caused by outside factors, such as the Asian
22
     currency crisis, the prices of CRT Products did not decline as much as they would have absent
23
     the conspiracy. The stability of the price of CRTs was accomplished by the collusive activities
24
     alleged above.
25
                      3.     Summary Of Effects Of The Conspiracy Involving CRTs
26
               224.   The above combination and conspiracy has had the following effects, among
27
     others:
28
                              a. Price competition in the sale of CRTs by Defendants and their co-
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 1                              conspirators has been restrained, suppressed and eliminated
 2                              throughout the United States;
 3                           b. Prices for CRTs in CRT Products sold by Defendants to Plaintiffs
 4                              directly and indirectly have been raised, fixed, maintained and
 5                              stabilized at artificially high and noncompetitive levels throughout the
 6                              United States; and
 7                           c. Plaintiffs were deprived of the benefit of free and open competition in
 8                              the purchase of CRT Products.
 9                           d. As a direct and proximate result of the unlawful conduct of
10                              Defendants, Plaintiffs were injured in its business and property in that
11                              they paid more for CRT Products than it otherwise would have paid in
12                              the absence of the unlawful conduct of Defendants.
13   VII.             PLAINTIFFS’ INJURIES
14             225.   As a purchaser of computer monitors, TVs and other devices that contained
15   CRTs, Plaintiffs suffered a direct, substantial and reasonably foreseeable injury as a result of
16   Defendants’ conspiracy to raise, fix, stabilize or maintain the price of CRTs at supra-competitive
17   levels. Defendants’ conspiracy artificially inflated the price of CRTs causing Plaintiffs to pay
18   higher prices than they would have in the absence of Defendants’ conspiracy.
19             226.   Plaintiffs also purchased CRT Products containing CRTs from OEMs as well as
20   others, which in turn purchased CRTs from Defendants and their co-conspirators. Defendants’
21   conspiracy affected and artificially inflated the price of CRTs purchased by these OEMs and
22   others, which paid higher prices for CRTs than they would have absent the conspiracy. The
23   conspiracy artificially inflated the prices of CRTs included in CRT Products.
24             227.   The OEMs and others passed on to their customers, including Plaintiffs, the
25   overcharges caused by Defendants’ conspiracy. Plaintiffs were not able to pass on to their
26   customers the overcharges caused by Defendants’ conspiracy. Thus, Plaintiffs suffered injury
27   when they purchased CRT Products containing such price-fixed CRTs from the OEMs and
28   others.
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 1           228.   Once a CRT leaves its place of manufacture, it remains essentially unchanged as
 2   it moves through the distribution system. CRTs are identifiable, discrete physical objects that do
 3   not change form or become an indistinguishable part of a CRT Product. Thus, CRTs follow a
 4   physical chain from Defendants through manufacturers of CRT Products sold to Plaintiffs.
 5           229.   The market for CRTs and the market for CRT Products are inextricably linked
 6   and cannot be considered separately. Defendants are well aware of this intimate relationship.
 7           230.   Throughout the Relevant Period, Defendants and their co-conspirators controlled
 8   the market for CRTs. Consequently, during the Relevant Period, the OEMs had no choice but to
 9   purchase CRTs from Defendants and others at prices that were artificially inflated, fixed and
10   stabilized by Defendants’ conspiracy.
11           231.   As a result, Plaintiffs were injured in connection with its purchases of CRT
12   Products during the Relevant Period.
13   VIII.          FRAUDULENT CONCEALMENT
14           232.   Plaintiffs had neither actual nor constructive knowledge of the facts supporting its
15   claims for relief despite diligence in trying to discover the pertinent facts. Plaintiffs did not
16   discover, and could not have discovered through the exercise of reasonable diligence, the
17   existence of the conspiracy alleged herein. Defendants engaged in a secret conspiracy that did
18   not give rise to facts that would put Plaintiffs on inquiry notice that there was a conspiracy to fix
19   the prices of CRTs.
20           233.   Because Defendants’ agreement, understanding and conspiracy were kept secret,
21   Plaintiffs were unaware of Defendants’ unlawful conduct alleged herein and did not know that it
22   was paying artificially high prices for CRT Products.
23           234.   The affirmative acts of Defendants alleged herein, including acts in furtherance of
24   the conspiracy, were wrongfully concealed and carried out in a manner that precluded detection.
25   As noted above, Defendants and their co-conspirators organized glass meetings to avoid
26   detection, conducted bilateral meetings in secret and agreed at glass meetings to orchestrate the
27   giving of pretextual reasons for their pricing actions and output restrictions. Defendants and
28   their co-conspirators would coordinate and exchange in advance the texts of the proposed
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 1   communications with customers containing these pretextual statements and would coordinate
 2   which co-conspirator would first communicate these pretextual statements to customers.
 3          235.    By its very nature, Defendants’ price-fixing conspiracy was inherently self-
 4   concealing.
 5          236.    Plaintiffs could not have discovered the alleged contract, conspiracy or
 6   combination at an earlier date by the exercise of reasonable diligence because of the deceptive
 7   practices and techniques of secrecy employed by Defendants and their co-conspirators to avoid
 8   detection of, and fraudulently conceal, their contract, conspiracy or combination. The contract,
 9   conspiracy or combination as herein alleged was fraudulently concealed by Defendants by
10   various means and methods, including, but not limited to, secret meetings, surreptitious
11   communications between Defendants by the use of the telephone or in-person meetings in order
12   to prevent the existence of written records, discussion on how to evade antitrust laws and
13   concealing the existence and nature of their competitor pricing discussions from non-
14   conspirators (including customers).
15          237.    Defendants and their co-conspirators agreed not to publicly discuss the existence
16   or nature of the conspiracy or their agreements. Meetings related to CDTs and CPTs were held
17   separately to avoid detection. Participants at glass meetings were also told not to take minutes.
18   Attending companies also reduced the number of their respective attendees to maintain secrecy.
19   During these meetings, top executives and other officials attending these meetings were
20   instructed on more than once occasion not to disclose the fact of these meetings to outsiders, or
21   even to other employees of Defendants not involved in CRT pricing or production. In fact, the
22   top executives who attended conspiracy meetings agreed to stagger their arrivals and departures
23   at such meetings to avoid being seen in public with each other and with the express purpose and
24   effect of keeping them secret.
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21          240.    Defendants also agreed at glass meetings and bilateral meetings to give pretextual
22   reasons for price increases and output reductions to their customers.
23          241.    As alleged above, in early 1999, despite declining production costs and the rapid
24   entry of flat panel display products, the price of large-sized color CRTs actually rose. The price
25   increase was allegedly based on increasing global demand for the products. In fact, this price
26   rise was the result of collusive conduct amongst Defendants, which was undisclosed at the time.
27          242.    As alleged above, despite increased competition from flat panel monitors, prices
28   for CRT monitors were stuck stubbornly at high price levels throughout 2001. This price
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 1   stabilization was purportedly due exclusively to a shortage of critical components such as glass.
 2   This was a pretext used to cover up the conspiracy.
 3          243.    In addition, when several CRT manufacturers, including Samsung, Philips and
 4   LG Electronics, increased the price of CRTs in 2004, the price hike was blamed on a shortage of
 5   glass shells use for manufacturing CRT monitors. In justifying this price increase, a Deputy
 6   General Manager for an LG Electronics distributor in India stated, “[t]his shortage [of glass
 7   shells] is a global phenomena and every company has to increase the prices of CRT monitors in
 8   due course of time.”
 9          244.    Manufacturers such as LG Electronics periodically issued press statements falsely
10   asserting that CRT prices were being driven lower by intense competition.
11          245.    Plaintiffs are informed and believe, and thereon allege, that the purported reasons
12   for the price increases of CRTs were materially false and misleading and made for the purpose of
13   concealing the conspirators’ anti-competitive scheme as alleged herein.
14          246.    As a result of Defendants’ and their co-conspirators’ fraudulent concealment of
15   their conspiracy, the running of any statute of limitations has been tolled with respect to any
16   claims that Plaintiffs have as a result of the anticompetitive conduct alleged in this complaint.
17   IX.    TOLLING
18          247.    As discussed at length in Paragraphs 200-206 above, the United States
19   Department of Justice instituted criminal proceedings and investigations against several
20   participants in the conspiracy commencing on at least February 10, 2009. Plaintiffs’ claims were
21   tolled during these criminal proceedings pursuant to 15 U.S.C. § 16.
22          248.    Plaintiffs’ claims were tolled under American Pipe & Construction Co. v. Utah,
23   414 U.S. 538 (1974), and related authorities recognizing cross-jurisdictional tolling during the
24   pendency of the Direct Purchaser Class actions asserted against the participants in the CRT
25   price-fixing scheme and commenced on at least November 26, 2007. Plaintiffs were members of
26   the Direct Purchaser Class Actions, including, but not limited to, the following Complaints:
27                         Crago, Inc. v. Chunghwa Picture Tubes, Ltd., et al., No. 3:07-cv-05944-
28                          SC (Dkt. No. 1) (N.D. Cal. Nov. 26, 2007);
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 1                          Radio & TV Equipment, Inc. v. Chunghwa Picture Tubes, Ltd., No. 2:08-
 2                           cv-00542-JAG, (D. N.J. Jan. 28, 2008);
 3                          Sound Investments Corp. v. Chunghwa Picture Tubes, Ltd., No. 2:08-cv-
 4                           00543-JAG (D. N.J. Jan. 28, 2008); and
 5                          Direct Purchaser Plaintiffs’ Consolidated Amended Complaint, No. 3:07-
 6                           cv-05944-SC (Dkt. No. 436) (N.D. Cal. Mar. 16, 2009).
 7   X.        CLAIM FOR VIOLATIONS
 8                                           First Claim for Relief
 9                               (Violation of Section 1 of the Sherman Act)
10             249.   Plaintiffs incorporate by reference all the above allegations as if fully set forth
11   herein.
12             250.   Beginning no later than March 1, 1995, the exact date being unknown to Plaintiffs
13   and exclusively within the knowledge of Defendants, Defendants and their co-conspirators
14   entered into a continuing contract, combination or conspiracy to unreasonably restrain trade and
15   commerce in violation of Section 1 of the Sherman Act (15 U.S.C. § 1) by artificially reducing or
16   eliminating competition in the United States.
17             251.   In particular, Defendants and their co-conspirators combined and conspired to
18   raise, fix, maintain, or stabilize the prices of CRTs sold in the United States.
19             252.   As a result of Defendants’ unlawful conduct, prices for CRTs were raised, fixed,
20   maintained and stabilized in the United States.
21             253.   The contract, combination or conspiracy among Defendants consisted of a
22   continuing agreement, understanding, and concerted action among Defendants and their co-
23   conspirators.
24             254.   For purposes of formulating and effectuating their contract, combination or
25   conspiracy, Defendants and their co-conspirators did those things they contracted, combined, or
26   conspired to do, including:
27                              a. participating in meetings and conversations to discuss the prices and
28                                 supply of CRTs;
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 1                            b. communicating in writing and orally to fix target prices, floor prices
 2                                and price ranges for CRTs;
 3                            c. agreeing to manipulate prices and supply of CRTs sold in the United
 4                                States in a manner that deprived direct purchasers of free and open
 5                                competition;
 6                            d. issuing price announcements and price quotations in accordance
 7                                with the agreements reached;
 8                            e. selling CRTs to customers in the United States at noncompetitive
 9                                prices;
10                            f. exchanging competitively sensitive information in order to facilitate
11                                their conspiracy;
12                            g. agreeing to maintain or lower production capacity; and
13                            h. providing false statements to the public to explain increased prices
14                                for CRTs.
15          255.    As a result of Defendants’ unlawful conduct, Plaintiffs were injured in their
16   businesses and property in that they paid more for CRT Products than they otherwise would have
17   paid in the absence of Defendants’ unlawful conduct.
18                                          Second Claim for Relief
19                              (Violation of the California Cartwright Act)
20          256.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
21   allegation set forth in the preceding paragraphs of this Complaint.
22          257.    During the Relevant Period, Plaintiffs, and their predecessor entities, including
23   International Computer Graphics, Inc., which was organized under the laws of the State of
24   California, conducted a substantial volume of business in California. In particular, Plaintiffs
25   purchased CRT Products from Defendants and their co-conspirators in California; maintained
26   warehouses in California containing CRT Products manufactured and sold by Defendants and
27   co-conspirators; and maintained agents and representatives in California who sold CRT Products
28   to customers in California and elsewhere. As a result of their presence in California and the
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 1   substantial business they conducted in California, Plaintiffs are entitled to the protection of the
 2   laws of California.
 3          258.    In addition, Defendants LG Display, Samsung and Toshiba all maintained offices
 4   in California during the Relevant Period. Employees at Defendants’ locations in California
 5   participated in meetings and engaged in bilateral communications in California and intended and
 6   did carry out Defendants’ anticompetitive agreement to fix the price of CRT Products.
 7   Defendants’ conduct within California thus injured Plaintiffs and their predecessor entities, both
 8   in California and throughout the United States.
 9          259.    Beginning at a time presently unknown to Plaintiffs, but at least as early as March
10   1, 1995, and continuing thereafter at least up to and including at least November 25, 2007,
11   Defendants and their co-conspirators entered into and engaged in a continuing unlawful trust in
12   restraint of the trade and commerce described above in violation of the Cartwright Act,
13   California Business and Professional Code Section 16720. Defendants have each acted in
14   violation of Section 16720 to fix, raise, stabilize and maintain prices of, and allocate markets for,
15   CRT Products at supra-competitive levels. Defendants’ conduct substantially affected California
16   commerce.
17          260.    The aforesaid violations of Section 16720, California Business and Professional
18   Code, consisted, without limitation, of a continuing unlawful trust and concert of action among
19   Defendants and their co-conspirators, the substantial terms of which were to fix, raise, maintain
20   and stabilize the prices of, and to allocate markets for, CRT Products.
21          261.    For the purpose of forming and effectuating the unlawful trust, Defendants and
22   their co-conspirators have done those things which they combined and conspired to do, including
23   but in no way limited to the acts, practices and course of conduct set forth above and the
24   following:
25                            a. to fix, raise, maintain and stabilize the price of CRT Products;
26                            b. to allocate markets for CRT Products amongst themselves;
27                            c. to submit rigged bids for the award and performance of certain CRT
28                                Products contracts; and
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 1                               d. to allocate among themselves the production of CRT Products.
 2              262.   The combination and conspiracy alleged herein has had, inter alia, the following
 3   effects:
 4                               a. price competition in the sale of CRT Products has been restrained,
 5                                   suppressed and/or eliminated in the State of California;
 6                               b. prices for CRT Products sold by Defendants, their co-conspirators,
 7                                   and others have been fixed, raised, maintained and stabilized at
 8                                   artificially high, non-competitive levels in the State of California;
 9                                   and
10                               c. those who purchased CRT Products from Defendants, their co-
11                                   conspirators, and others and CRT Products containing price-fixed
12                                   CRTs from Defendants, their co-conspirators, and others have been
13                                   deprived of the benefit of free and open competition.
14              263.   As a result of the alleged conduct of Defendants, Plaintiffs paid supra-
15   competitive, artificially inflated prices for the CRT Products they purchased during the Relevant
16   Period.
17              264.   As a direct and proximate result of Defendants’ conduct, Plaintiffs have been
18   injured in their business and property by paying more for CRT Products containing price-fixed
19   CRTs sold by Defendants, their co-conspirators and others than they would have paid in the
20   absence of Defendants’ combination and conspiracy. As a result of Defendants’ violation of
21   Section 16720 of the California Business and Professional Code, Plaintiffs are entitled to treble
22   damages and the costs of suit, including reasonable attorneys’ fees, pursuant to Section 16750(a)
23   of the California Business and Professions Code.
24                                           Third Claim for Relief
25                            (Violation of California Unfair Competition Law)
26              265.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
27   allegation set forth in the preceding paragraphs of this Complaint.
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 1            266.   During the Relevant Period, Plaintiffs, and their predecessor entities, including
 2   International Computer Graphics, Inc., conducted a substantial volume of business in California.
 3   In particular, Plaintiffs purchased CRT Products from Defendants and their co-conspirators in
 4   California; maintained warehouses in California containing CRT Products manufactured and
 5   sold by Defendants and co-conspirators; and maintained agents and representatives in California
 6   who sold CRT Products to consumers in California and elsewhere. As a result of their presence
 7   in California and the substantial business they conducted in California, Plaintiffs are entitled to
 8   the protection of the laws of California.
 9            267.   Defendants have engaged in unfair competition in violation of California’s Unfair
10   Competition Law, California Business and Professional Code § 17200 et seq.
11            268.   Defendants committed acts of unfair competition, as defined by Section 17200, et
12   seq., by engaging in a conspiracy to fix and stabilize the price of CRT Products as described
13   above.
14            269.   The acts, omissions, misrepresentations, practices and non-disclosures of
15   Defendants, as described above, constitute a common, continuous and continuing course of
16   conduct of unfair competition by means of unfair, unlawful and/or fraudulent business acts or
17   practices with the meaning of Section 17200, et seq., including, but not limited to (1) violation of
18   Section 1 of the Sherman Act and (2) violation of the Cartwright Act.
19            270.   Defendants’ acts, omissions, misrepresentations, practices and non-disclosures are
20   unfair, unconscionable, unlawful and/or fraudulent independently of whether they constitute a
21   violation of the Sherman Act or the Cartwright Act.
22            271.   Defendants’ acts or practices are fraudulent or deceptive within the meaning of
23   Section 17200, et seq.;
24            272.   Defendants’ conduct was carried out, effectuated, and perfected, at least in part,
25   within the state of California.
26            273.   By reason of the foregoing, Plaintiffs are entitled to full restitution and/or
27   disgorgement of all revenues, earnings, profits, compensation and benefits that may have been
28   obtained by Defendants as result of such business acts and practices described above.
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 1                                       Fourth Claim for Relief
 2                              (Violation of the New York Donnelly Act)
 3          274.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
 4   allegation set forth in the preceding paragraphs of this Complaint.
 5          275.    Plaintiffs are corporations organized and existing under the laws of the State of
 6   New York and during the Relevant Period, Plaintiffs and their predecessor entities conducted a
 7   substantial volume of business in New York. In particular, Plaintiffs purchased CRT Products
 8   from Defendants and their co-conspirators in New York; maintained warehouses in New York
 9   containing CRT Products manufactured and sold by Defendants and co-conspirators; and
10   maintained agents and representatives in New York who sold CRT Products to consumers in
11   New York and elsewhere. As a result of their presence in New York and the substantial business
12   they conducted in New York, Plaintiffs are entitled to the protection of the laws of New York.
13          276.    Beginning at a time presently unknown to Plaintiffs, but at least as early as March
14   1, 1995, and continuing thereafter up to and including at least November 25, 2007, Defendants
15   and their co-conspirators entered into and engaged in a continuing unlawful trust in restraint of
16   the trade and commerce described above in violation of the Donnelly Act, New York General
17   Business Law §§ 340 et seq.
18          277.    Defendants’ conspiracy restrained, suppressed and/or eliminated competition in
19   the sale of CRT Products in New York and fixed, raised, maintained and stabilized CRT
20   Products prices in New York at artificially high, non-competitive levels.
21          278.    As a result, Defendants’ conspiracy substantially affected New York commerce
22          279.    As a direct and proximate result of Defendants’ conduct, Plaintiffs have been
23   injured in their business and property by paying more for CRT Products purchased from
24   Defendants, their co-conspirators and others than they would have paid in the absence of
25   Defendants’ combination and conspiracy, and are entitled to relief under New York General
26   Business Law §§ 340 et seq.
27          280.    As a result of Defendants’ violation of Section 340 of the New York General
28   Business Law, Plaintiffs are entitled to treble damages and the costs of suit, including attorneys’
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 1   fees.
 2                                         Fifth Claim for Relief
 3                          (Violation of New York Unfair Competition Law)
 4           281.           Plaintiffs incorporate and reallege, as though fully set forth herein, each
 5   and every allegation set forth in the preceding paragraphs of this Complaint.
 6           282.           Defendants agreed to, and did in fact, act in restraint of trade or commerce
 7   by affecting, fixing, controlling and/or maintaining, at artificial and non-competitive levels, the
 8   prices at which CRT Products were sold, distributed or obtained in New York and took efforts to
 9   conceal their agreements from Plaintiffs.
10           283.           The conduct of Defendants described herein constitutes consumer-oriented
11   deceptive acts or practices within the meaning of N.Y General Business Law § 349, which
12   resulted in consumer injury and broad adverse impact on the public at large, and harmed the
13   public interest of New York State in an honest marketplace in which economic activity is
14   conducted in a competitive manner.
15           284.           Defendants’ unlawful conduct had the following effects: (1) CRT price
16   competition was restrained, suppressed and eliminated throughout New York; (2) CRT Products
17   prices were raised, fixed, maintained and stabilized at artificially high levels throughout New
18   York; (3) Plaintiffs were deprived of free and open competition; and (4) Plaintiffs paid supra-
19   competitive, artificially inflated prices for CRT Products.
20           285.           During the Relevant Period, Defendants’ illegal conduct substantially
21   affected New York commerce and consumers.
22           286.           During the Relevant Period, each of Defendants named herein, directly, or
23   indirectly and through affiliates or subsidiaries or agents they dominated and controlled,
24   manufactured, sold and/or distributed CRT Products in New York.
25           287.           Plaintiffs seek treble damages for their injuries caused by these violations
26   in an amount to be determined at trial and are threatened with further injury. Without prejudice
27   to their contention that Defendants’ unlawful conduct was willful and knowing, Plaintiffs do not
28   seek in this action to have those damages trebled pursuant to N.Y. Gen. Bus. Law § 349(h).
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 1   XI.       PRAYER FOR RELIEF
 2             WHEREFORE, Plaintiffs pray that the Court enter judgment on its behalf, adjudging and
 3   decreeing that:
 4                     A.      Defendants engaged in a contract, combination, and conspiracy in
 5   violation of Section 1 of the Sherman Act (15 U.S.C. § 1), the California Cartwright Act, the
 6   New York Donnelly Act and the unfair competition laws of California and New York and
 7   Plaintiffs were injured in their business and property as a result of Defendants’ violations, and
 8   that defendants unjustly retained substantial benefits received due to such conspiracy;
 9                     B.      Plaintiffs shall recover damages sustained by them, as provided by the
10   federal and state antitrust laws, and a joint and several judgment in favor of Plaintiffs shall be
11   entered against Defendants in an amount to be trebled in accordance with such laws, including
12   Section 4 of the Clayton Act;
13                     C.      Defendants,    their   subsidiaries,   affiliates,   successors,      transferees,
14   assignees and the respective officers, directors, partners, agents and employees thereof, and all
15   other persons acting or claiming to act on their behalf, shall be permanently enjoined and
16   restrained from continuing and maintaining the combination, conspiracy or agreement alleged
17   herein;
18                     D.      Plaintiffs shall be awarded pre-judgment and post-judgment interest, and
19   such interest shall be awarded at the highest legal rate from and after the date of service of the
20   initial complaint in this action;
21                     E.      Plaintiffs shall recover their costs of this suit, including reasonable
22   attorneys’ fees as provided by law; and
23                     F.     Plaintiffs shall receive such other or further relief as may be just and proper.
24   XII.            JURY TRIAL DEMAND
25             Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of all
26   the claims asserted in this Complaint so triable.
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 3   Dated: December 20, 2013
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